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                                     Exhibit A

                                    Time Entries




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Hours Summary (Mar-23)                                                                                                                                                                            Strictly Private & Confidential
May 4, 2023


                                          Correspondence
                                                             Correspondence                             Due Diligence and                                                           Other Administrative
                                            with Debtor                            Correspondence                             Sale Process
                                                            with Creditors, UCC,                          Restructuring                        Financing Matters   Court Hearings     Processes and               Total
                                           Advisors and                            with Third-Parties                           Matters
                                                                and Advisors                                Strategy                                                                      Analysis
                                             Principals


Restructuring

Bruce Mendelsohn (Partner)                            9.0                   7.5                   -                  61.5                5.5                 -                 -                    -                      83.5

Kevin Cofsky (Partner)                                8.5                   8.0                   -                  56.5                0.5                 -                 -                    -                      73.5

Matt Rahmani (Executive Director)                    10.0                   8.0                  25.0                32.5               13.5                 -                 -                    -                      89.0

Kendyl Flinn (Associate)                             11.0                   8.0                  25.0                41.5               20.0                 -                 -                    4.5                   110.0

Bruce Baker (Associate)                               4.5                   1.0                   -                  11.5                -                   -                 -                    -                      17.0

Sam Saferstein (Analyst)                             11.0                   2.0                   -                  38.0               18.5                 -                 -                    4.5                    74.0

Nikhil Velivela (Analyst)                            11.0                   2.0                   -                  41.0               17.5                 -                 -                    4.5                    76.0

Restructuring Sub-Total                              65.0                  36.5                  50.0               282.5               75.5                 -                 -                   13.5                   523.0

FinTech and Digital Assets

Michael Grace (Partner)                               2.5                   -                     6.0                 -                  -                   -                 -                    -                        8.5

Max Mesny (Partner)                                   2.5                   -                     -                   -                  4.0                 -                 -                    -                        6.5

Timm Schipporeit (Partner)                            2.5                   -                     -                   -                  4.0                 -                 -                    -                        6.5

Laura Klaassen (Managing Director)                    5.5                   -                     2.5                 5.5               13.5                 -                 -                    -                      27.0

Ema Betts (Managing Director)                         5.5                   -                     2.5                 5.5               13.5                 -                 -                    -                      27.0

Emmanuel Aidoo (Executive Director)                   -                     -                     -                  13.5                -                   -                 -                    -                      13.5

Nathaniel Nussbaum (Executive Director)               8.5                   6.5                  10.5                 -                 25.0                 -                 -                    -                      50.5

Geoff Posess (Director)                               8.5                   6.5                  10.5                 -                 29.5                 -                 -                    -                      55.0

Wasif Syed (Director)                                11.0                   3.0                  25.0                24.0               48.0                 -                 -                    -                     111.0

Tejas Choudhary (Associate)                           5.5                   0.5                   -                  11.5                0.5                 -                 -                    -                      18.0

Arjun Arora (Associate)                               5.5                   0.5                   9.0                 -                 40.5                 -                 -                    -                      55.5

Jenny Zhu (Analyst)                                   1.0                   6.0                   -                   -                  4.0                 -                 -                    -                      11.0

Rohan Sindhwani (Analyst)                             5.5                   1.0                   9.0                 -                 49.0                 -                 -                    -                      64.5

Rohan Mekala (Analyst)                                7.0                   6.5                   1.5                 -                 43.0                 -                 -                    -                      58.0

Alina Negulescu (Analyst)                            10.0                   1.5                   -                  22.0               33.5                 -                 -                    3.0                    70.0

FinTech & Digital Assets Sub-Total                   81.0                  32.0                  76.5                82.0              308.0                 -                 -                    3.0                   582.5



Team Grand Total                                    146.0                  68.5                 126.5               364.5              383.5                 -                 -                   16.5                 1,105.5
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Hours Summary by Category                                                                                         Strictly Private & Confidential

May 4, 2023


Correspondence with Debtor Advisors and Principals    146.0
Correspondence with Creditors, UCC, and Advisors       68.5
Correspondence with Third-Parties                     126.5
Sale Process Matters                                  383.5
Financing Matters                                        0.0
Court Hearings                                           0.0
Other Administrative Processes and Analysis            16.5
Total Hours                                          1,105.5




                                                                   Page 2                    FTX Case Hours Tracker_vMar / 5/4/2023 / 4:13 PM
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Bruce Mendelsohn (Partner)                                                                                                                     Strictly Private & Confidential




                Bruce Mendelsohn (Partner) - Case Hours Summary (Mar-23)
Categories                                                                         Hours
Correspondence with Debtor Advisors and Principals                                   9.0
Correspondence with Creditors, UCC, and Advisors                                     7.5
Correspondence with Third-Parties                                                    -
Due Diligence and Restructuring Strategy                                            61.5
Sale Process Matters                                                                 5.5
Financing Matters                                                                    -
Court Hearings                                                                       -
Other Administrative Processes and Analysis                                          -
Total                                                                               83.5

                                                                     Case Hours Detail (Mar-23)
       Date                  Day        Hours                     Category                                                          Activity

                                                       Due Diligence and Restructuring
      03/01/23        Wednesday           1.0                                              Review of outbound analysis / presentations
                                                                  Strategy

                                                       Due Diligence and Restructuring
      03/01/23      Wednesday             1.0                                              Daily review of emails / materials / analyses
                                                                  Strategy

                                                       Due Diligence and Restructuring
      03/01/23      Wednesday             0.5                                              Diligence session regarding subsidiary
                                                                  Strategy

                                                     Correspondence with Debtor Advisors
      03/01/23      Wednesday             0.5                                            Venture investment planning with S&C
                                                               and Principals

                                                       Due Diligence and Restructuring
      03/01/23      Wednesday             5.0                                              Preparation of venture board materials
                                                                  Strategy

                                                       Due Diligence and Restructuring
      03/02/23      Thursday              1.0                                              Review of outbound analysis / presentations
                                                                  Strategy

                                                       Due Diligence and Restructuring
      03/02/23      Thursday              1.0                                              Daily review of emails / materials / analyses
                                                                  Strategy

                                                       Due Diligence and Restructuring
      03/03/23      Friday                1.0                                              Review of outbound analysis / presentations
                                                                  Strategy

                                                       Due Diligence and Restructuring
      03/03/23      Friday                1.0                                              Daily review of emails / materials / analyses
                                                                  Strategy

                                                     Correspondence with Creditors, UCC,
      03/03/23      Friday                1.0                                            Process updates with UCC advisors
                                                               and Advisors
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Bruce Mendelsohn (Partner)                                                                                                             Strictly Private & Confidential




      03/03/23      Friday      2.0               Sale Process Matters         Internal Discussions on LedgerX proceedings


                                             Due Diligence and Restructuring
      03/06/23      Monday      1.0                                            Review of outbound analysis / presentations
                                                        Strategy

                                             Due Diligence and Restructuring
      03/06/23      Monday      1.0                                            Daily review of emails / materials / analyses
                                                        Strategy

                                           Correspondence with Debtor Advisors
      03/06/23      Monday      1.0                                            Ventures board meeting
                                                     and Principals


      03/06/23      Monday      0.5               Sale Process Matters         Call with third party interested in fund sale process


                                           Correspondence with Debtor Advisors
      03/07/23      Tuesday     1.0                                            PMO Meeting with Debtors' advisors John Ray, S&C, A&M
                                                     and Principals

                                             Due Diligence and Restructuring
      03/07/23      Tuesday     1.0                                            Review of outbound analysis / presentations
                                                        Strategy

                                             Due Diligence and Restructuring
      03/07/23      Tuesday     1.0                                            Daily review of emails / materials / analyses
                                                        Strategy

                                             Due Diligence and Restructuring
      03/08/23      Wednesday   1.0                                            Review of outbound analysis / presentations
                                                        Strategy

                                             Due Diligence and Restructuring
      03/08/23      Wednesday   1.0                                            Daily review of emails / materials / analyses
                                                        Strategy

                                             Due Diligence and Restructuring
      03/08/23      Wednesday   0.5                                            Update call with portfolio company
                                                        Strategy

                                           Correspondence with Debtor Advisors
      03/08/23      Wednesday   0.5                                            Venture investment planning with S&C
                                                     and Principals

                                             Due Diligence and Restructuring
      03/08/23      Wednesday   5.0                                            Preparation of venture board materials
                                                        Strategy

                                             Due Diligence and Restructuring
      03/09/23      Thursday    1.0                                            Review of outbound analysis / presentations
                                                        Strategy
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Bruce Mendelsohn (Partner)                                                                                                    Strictly Private & Confidential



                                            Due Diligence and Restructuring
      03/09/23      Thursday   1.0                                            Daily review of emails / materials / analyses
                                                       Strategy

                                          Correspondence with Creditors, UCC,
      03/09/23      Thursday   1.0                                            Process updates with UCC advisors
                                                    and Advisors

                                          Correspondence with Debtor Advisors
      03/09/23      Thursday   1.0                                            Ventures board meeting
                                                    and Principals

                                            Due Diligence and Restructuring
      03/09/23      Thursday   0.5                                            Internal workstreams catchup call
                                                       Strategy


      03/09/23      Thursday   1.0               Sale Process Matters         Internal Discussions on LedgerX proceedings


                                            Due Diligence and Restructuring
      03/10/23      Friday     1.0                                            Review of outbound analysis / presentations
                                                       Strategy

                                            Due Diligence and Restructuring
      03/10/23      Friday     1.0                                            Daily review of emails / materials / analyses
                                                       Strategy

                                            Due Diligence and Restructuring
      03/13/23      Monday     1.0                                            Review of outbound analysis / presentations
                                                       Strategy

                                            Due Diligence and Restructuring
      03/13/23      Monday     1.0                                            Daily review of emails / materials / analyses
                                                       Strategy

                                            Due Diligence and Restructuring
      03/13/23      Monday     0.5                                            Update call with portfolio company
                                                       Strategy

                                            Due Diligence and Restructuring
      03/14/23      Tuesday    0.5                                            Diligence session regarding subsidiary
                                                       Strategy

                                            Due Diligence and Restructuring
      03/14/23      Tuesday    1.0                                            Review of outbound analysis / presentations
                                                       Strategy

                                            Due Diligence and Restructuring
      03/14/23      Tuesday    1.0                                            Daily review of emails / materials / analyses
                                                       Strategy

                                          Correspondence with Debtor Advisors
      03/14/23      Tuesday    1.0                                            PMO Meeting with Debtors' advisors John Ray, S&C, A&M
                                                    and Principals
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Bruce Mendelsohn (Partner)                                                                                                         Strictly Private & Confidential



                                           Correspondence with Creditors, UCC,
      03/14/23      Tuesday     0.5                                            Discussion with UCC advisors on fund sale process
                                                     and Advisors

                                             Due Diligence and Restructuring
      03/15/23      Wednesday   1.0                                            Review of outbound analysis / presentations
                                                        Strategy

                                             Due Diligence and Restructuring
      03/15/23      Wednesday   1.0                                            Daily review of emails / materials / analyses
                                                        Strategy

                                           Correspondence with Debtor Advisors
      03/15/23      Wednesday   0.5                                            Venture investment planning with S&C
                                                     and Principals

                                           Correspondence with Creditors, UCC,
      03/15/23      Wednesday   1.0                                            Process updates with UCC advisors
                                                     and Advisors

                                             Due Diligence and Restructuring
      03/15/23      Wednesday   2.0                                            Preparation of venture board materials
                                                        Strategy

                                             Due Diligence and Restructuring
      03/16/23      Thursday    1.0                                            Review of outbound analysis / presentations
                                                        Strategy

                                             Due Diligence and Restructuring
      03/16/23      Thursday    1.0                                            Daily review of emails / materials / analyses
                                                        Strategy

                                           Correspondence with Debtor Advisors
      03/16/23      Thursday    0.5                                            Venture investment planning with S&C
                                                     and Principals


      03/16/23      Thursday    1.0               Sale Process Matters         Internal Discussions on LedgerX proceedings


                                             Due Diligence and Restructuring
      03/17/23      Friday      1.0                                            Review of outbound analysis / presentations
                                                        Strategy

                                             Due Diligence and Restructuring
      03/17/23      Friday      1.0                                            Daily review of emails / materials / analyses
                                                        Strategy

                                             Due Diligence and Restructuring
      03/20/23      Monday      1.0                                            Review of outbound analysis / presentations
                                                        Strategy

                                             Due Diligence and Restructuring
      03/20/23      Monday      1.0                                            Daily review of emails / materials / analyses
                                                        Strategy
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Bruce Mendelsohn (Partner)                                                                                                     Strictly Private & Confidential



                                             Due Diligence and Restructuring
      03/21/23      Tuesday     1.0                                            Review of outbound analysis / presentations
                                                        Strategy

                                             Due Diligence and Restructuring
      03/21/23      Tuesday     1.0                                            Daily review of emails / materials / analyses
                                                        Strategy

                                           Correspondence with Debtor Advisors
      03/21/23      Tuesday     1.0                                            PMO Meeting with Debtors' advisors John Ray, S&C, A&M
                                                     and Principals

                                             Due Diligence and Restructuring
      03/21/23      Tuesday     3.0                                            Preparation of venture board materials
                                                        Strategy

                                             Due Diligence and Restructuring
      03/22/23      Wednesday   1.0                                            Review of outbound analysis / presentations
                                                        Strategy

                                             Due Diligence and Restructuring
      03/22/23      Wednesday   1.0                                            Daily review of emails / materials / analyses
                                                        Strategy

                                           Correspondence with Debtor Advisors
      03/22/23      Wednesday   0.5                                            Venture investment planning with S&C
                                                     and Principals

                                           Correspondence with Creditors, UCC,
      03/23/23      Thursday    0.5                                            Process update with UCC advisors
                                                     and Advisors

                                           Correspondence with Creditors, UCC,
      03/23/23      Thursday    0.5                                            Discussion with UCC advisors on token status
                                                     and Advisors

                                             Due Diligence and Restructuring
      03/24/23      Friday      1.0                                            Review of outbound analysis / presentations
                                                        Strategy

                                             Due Diligence and Restructuring
      03/24/23      Friday      1.0                                            Daily review of emails / materials / analyses
                                                        Strategy


      03/24/23      Friday      1.0               Sale Process Matters         Internal Discussions on LedgerX proceedings


                                             Due Diligence and Restructuring
      03/27/23      Monday      1.0                                            Review of outbound analysis / presentations
                                                        Strategy

                                             Due Diligence and Restructuring
      03/27/23      Monday      1.0                                            Daily review of emails / materials / analyses
                                                        Strategy
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Bruce Mendelsohn (Partner)                                                                                                     Strictly Private & Confidential



                                             Due Diligence and Restructuring
      03/28/23      Tuesday     1.0                                            Review of outbound analysis / presentations
                                                        Strategy

                                             Due Diligence and Restructuring
      03/28/23      Tuesday     1.0                                            Daily review of emails / materials / analyses
                                                        Strategy

                                           Correspondence with Debtor Advisors
      03/28/23      Tuesday     1.0                                            PMO Meeting with Debtors' advisors John Ray, S&C, A&M
                                                     and Principals

                                             Due Diligence and Restructuring
      03/29/23      Wednesday   1.0                                            Review of outbound analysis / presentations
                                                        Strategy

                                             Due Diligence and Restructuring
      03/29/23      Wednesday   1.0                                            Daily review of emails / materials / analyses
                                                        Strategy

                                           Correspondence with Debtor Advisors
      03/29/23      Wednesday   0.5                                            Venture investment planning with S&C
                                                     and Principals

                                           Correspondence with Creditors, UCC,
      03/30/23      Thursday    3.0                                            Process updates with UCC advisors
                                                     and Advisors

                                             Due Diligence and Restructuring
      03/30/23      Thursday    1.0                                            Review of outbound analysis / presentations
                                                        Strategy

                                             Due Diligence and Restructuring
      03/30/23      Thursday    1.0                                            Daily review of emails / materials / analyses
                                                        Strategy

                                             Due Diligence and Restructuring
      03/31/23      Friday      1.0                                            Review of outbound analysis / presentations
                                                        Strategy

                                             Due Diligence and Restructuring
      03/31/23      Friday      1.0                                            Daily review of emails / materials / analyses
                                                        Strategy
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Kevin Cofsky (Partner)                                                                                                                           Strictly Private & Confidential




                    Kevin Cofsky (Partner) - Case Hours Summary (Mar-23)
Categories                                                                           Hours
Correspondence with Debtor Advisors and Principals                                     8.5
Correspondence with Creditors, UCC, and Advisors                                       8.0
Correspondence with Third-Parties                                                      -
Due Diligence and Restructuring Strategy                                              56.5
Sale Process Matters                                                                   0.5
Financing Matters                                                                      -
Court Hearings                                                                         -
Other Administrative Processes and Analysis                                            -
Total                                                                                 73.5

                                                                      Case Hours Detail (Mar-23)
        Date                  Day         Hours                    Category                                                           Activity

                                                         Due Diligence and Restructuring
      03/01/23           Wednesday          1.0                                              Review of outbound analysis / presentations
                                                                    Strategy

                                                         Due Diligence and Restructuring
      03/01/23       Wednesday              1.0                                              Daily review of emails / materials / analyses
                                                                    Strategy

                                                         Due Diligence and Restructuring
      03/01/23       Wednesday              0.5                                              Diligence session regarding subsidiary
                                                                    Strategy

                                                         Due Diligence and Restructuring
      03/02/23       Thursday               1.0                                              Review of outbound analysis / presentations
                                                                    Strategy

                                                         Due Diligence and Restructuring
      03/02/23       Thursday               1.0                                              Daily review of emails / materials / analyses
                                                                    Strategy

                                                      Correspondence with Creditors, UCC,
      03/02/23       Thursday               0.5                                           Session with UCC advisors regarding fund asset in portfolio
                                                                and Advisors

                                                         Due Diligence and Restructuring
      03/03/23       Friday                 1.0                                              Review of outbound analysis / presentations
                                                                    Strategy

                                                         Due Diligence and Restructuring
      03/03/23       Friday                 1.0                                              Daily review of emails / materials / analyses
                                                                    Strategy

                                                      Correspondence with Creditors, UCC,
      03/03/23       Friday                 1.0                                           Process updates with UCC advisors
                                                                and Advisors

                                                         Due Diligence and Restructuring
      03/06/23       Monday                 1.0                                              Review of outbound analysis / presentations
                                                                    Strategy
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Kevin Cofsky (Partner)                                                                                                              Strictly Private & Confidential



                                          Due Diligence and Restructuring
      03/06/23       Monday      1.0                                        Daily review of emails / materials / analyses
                                                     Strategy

                                        Correspondence with Debtor Advisors
      03/06/23       Monday      1.0                                        Ventures board meeting
                                                  and Principals


      03/06/23       Monday      0.5           Sale Process Matters         Call with third party interested in fund sale process


                                        Correspondence with Debtor Advisors
      03/07/23       Tuesday     1.0                                        PMO Meeting with Debtors' advisors John Ray, S&C, A&M
                                                  and Principals

                                          Due Diligence and Restructuring
      03/07/23       Tuesday     1.0                                        Review of outbound analysis / presentations
                                                     Strategy

                                          Due Diligence and Restructuring
      03/07/23       Tuesday     1.0                                        Daily review of emails / materials / analyses
                                                     Strategy

                                          Due Diligence and Restructuring
      03/08/23       Wednesday   1.0                                        Review of outbound analysis / presentations
                                                     Strategy

                                          Due Diligence and Restructuring
      03/08/23       Wednesday   1.0                                        Daily review of emails / materials / analyses
                                                     Strategy

                                          Due Diligence and Restructuring
      03/08/23       Wednesday   0.5                                        Update call with portfolio company
                                                     Strategy

                                        Correspondence with Debtor Advisors
      03/08/23       Wednesday   0.5                                        Venture investment planning with S&C
                                                  and Principals

                                          Due Diligence and Restructuring
      03/08/23       Wednesday   5.0                                        Preparation of venture board materials
                                                     Strategy

                                          Due Diligence and Restructuring
      03/09/23       Thursday    1.0                                        Review of outbound analysis / presentations
                                                     Strategy

                                          Due Diligence and Restructuring
      03/09/23       Thursday    1.0                                        Daily review of emails / materials / analyses
                                                     Strategy

                                        Correspondence with Creditors, UCC,
      03/09/23       Thursday    1.0                                        Process updates with UCC advisors
                                                  and Advisors
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Kevin Cofsky (Partner)                                                                                                          Strictly Private & Confidential



                                        Correspondence with Debtor Advisors
      03/09/23       Thursday    1.0                                        Ventures board meeting
                                                  and Principals

                                          Due Diligence and Restructuring
      03/09/23       Thursday    0.5                                        Internal workstreams catchup call
                                                     Strategy

                                          Due Diligence and Restructuring
      03/10/23       Friday      1.0                                        Review of outbound analysis / presentations
                                                     Strategy

                                          Due Diligence and Restructuring
      03/10/23       Friday      1.0                                        Daily review of emails / materials / analyses
                                                     Strategy

                                          Due Diligence and Restructuring
      03/13/23       Monday      1.0                                        Review of outbound analysis / presentations
                                                     Strategy

                                          Due Diligence and Restructuring
      03/13/23       Monday      1.0                                        Daily review of emails / materials / analyses
                                                     Strategy

                                          Due Diligence and Restructuring
      03/13/23       Monday      0.5                                        Update call with portfolio company
                                                     Strategy

                                          Due Diligence and Restructuring
      03/14/23       Tuesday     0.5                                        Diligence session regarding subsidiary
                                                     Strategy

                                          Due Diligence and Restructuring
      03/14/23       Tuesday     1.0                                        Review of outbound analysis / presentations
                                                     Strategy

                                          Due Diligence and Restructuring
      03/14/23       Tuesday     1.0                                        Daily review of emails / materials / analyses
                                                     Strategy

                                        Correspondence with Debtor Advisors
      03/14/23       Tuesday     1.0                                        PMO Meeting with Debtors' advisors John Ray, S&C, A&M
                                                  and Principals

                                        Correspondence with Creditors, UCC,
      03/14/23       Tuesday     0.5                                        Discussion with UCC advisors on fund sale process
                                                  and Advisors

                                          Due Diligence and Restructuring
      03/15/23       Wednesday   1.0                                        Review of outbound analysis / presentations
                                                     Strategy

                                          Due Diligence and Restructuring
      03/15/23       Wednesday   1.0                                        Daily review of emails / materials / analyses
                                                     Strategy
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Kevin Cofsky (Partner)                                                                                                      Strictly Private & Confidential



                                        Correspondence with Debtor Advisors
      03/15/23       Wednesday   0.5                                        Venture investment planning with S&C
                                                  and Principals

                                        Correspondence with Creditors, UCC,
      03/15/23       Wednesday   1.0                                        Process updates with UCC advisors
                                                  and Advisors

                                          Due Diligence and Restructuring
      03/15/23       Wednesday   2.0                                        Preparation of venture board materials
                                                     Strategy

                                          Due Diligence and Restructuring
      03/16/23       Thursday    1.0                                        Review of outbound analysis / presentations
                                                     Strategy

                                          Due Diligence and Restructuring
      03/16/23       Thursday    1.0                                        Daily review of emails / materials / analyses
                                                     Strategy

                                        Correspondence with Debtor Advisors
      03/16/23       Thursday    0.5                                        Venture investment planning with S&C
                                                  and Principals

                                          Due Diligence and Restructuring
      03/17/23       Friday      1.0                                        Review of outbound analysis / presentations
                                                     Strategy

                                          Due Diligence and Restructuring
      03/17/23       Friday      1.0                                        Daily review of emails / materials / analyses
                                                     Strategy

                                          Due Diligence and Restructuring
      03/20/23       Monday      1.0                                        Review of outbound analysis / presentations
                                                     Strategy

                                          Due Diligence and Restructuring
      03/20/23       Monday      1.0                                        Daily review of emails / materials / analyses
                                                     Strategy

                                          Due Diligence and Restructuring
      03/21/23       Tuesday     1.0                                        Review of outbound analysis / presentations
                                                     Strategy

                                          Due Diligence and Restructuring
      03/21/23       Tuesday     1.0                                        Daily review of emails / materials / analyses
                                                     Strategy

                                        Correspondence with Debtor Advisors
      03/21/23       Tuesday     1.0                                        PMO Meeting with Debtors' advisors John Ray, S&C, A&M
                                                  and Principals

                                          Due Diligence and Restructuring
      03/21/23       Tuesday     3.0                                        Preparation of venture board materials
                                                     Strategy
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Kevin Cofsky (Partner)                                                                                                      Strictly Private & Confidential



                                          Due Diligence and Restructuring
      03/22/23       Wednesday   1.0                                        Review of outbound analysis / presentations
                                                     Strategy

                                          Due Diligence and Restructuring
      03/22/23       Wednesday   1.0                                        Daily review of emails / materials / analyses
                                                     Strategy

                                        Correspondence with Debtor Advisors
      03/22/23       Wednesday   0.5                                        Venture investment planning with S&C
                                                  and Principals

                                        Correspondence with Creditors, UCC,
      03/23/23       Thursday    0.5                                        Process update with UCC advisors
                                                  and Advisors

                                        Correspondence with Creditors, UCC,
      03/23/23       Thursday    0.5                                        Discussion with UCC advisors on token status
                                                  and Advisors

                                          Due Diligence and Restructuring
      03/24/23       Friday      1.0                                        Review of outbound analysis / presentations
                                                     Strategy

                                          Due Diligence and Restructuring
      03/24/23       Friday      1.0                                        Daily review of emails / materials / analyses
                                                     Strategy

                                          Due Diligence and Restructuring
      03/27/23       Monday      1.0                                        Review of outbound analysis / presentations
                                                     Strategy

                                          Due Diligence and Restructuring
      03/27/23       Monday      1.0                                        Daily review of emails / materials / analyses
                                                     Strategy

                                          Due Diligence and Restructuring
      03/28/23       Tuesday     1.0                                        Review of outbound analysis / presentations
                                                     Strategy

                                          Due Diligence and Restructuring
      03/28/23       Tuesday     1.0                                        Daily review of emails / materials / analyses
                                                     Strategy

                                        Correspondence with Debtor Advisors
      03/28/23       Tuesday     1.0                                        PMO Meeting with Debtors' advisors John Ray, S&C, A&M
                                                  and Principals

                                          Due Diligence and Restructuring
      03/29/23       Wednesday   1.0                                        Review of outbound analysis / presentations
                                                     Strategy

                                          Due Diligence and Restructuring
      03/29/23       Wednesday   1.0                                        Daily review of emails / materials / analyses
                                                     Strategy
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Kevin Cofsky (Partner)                                                                                                      Strictly Private & Confidential



                                        Correspondence with Debtor Advisors
      03/29/23       Wednesday   0.5                                        Venture investment planning with S&C
                                                  and Principals

                                        Correspondence with Creditors, UCC,
      03/30/23       Thursday    3.0                                        Process updates with UCC advisors
                                                  and Advisors

                                          Due Diligence and Restructuring
      03/30/23       Thursday    1.0                                        Review of outbound analysis / presentations
                                                     Strategy

                                          Due Diligence and Restructuring
      03/30/23       Thursday    1.0                                        Daily review of emails / materials / analyses
                                                     Strategy

                                          Due Diligence and Restructuring
      03/31/23       Friday      1.0                                        Review of outbound analysis / presentations
                                                     Strategy

                                          Due Diligence and Restructuring
      03/31/23       Friday      1.0                                        Daily review of emails / materials / analyses
                                                     Strategy
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Matt Rahmani (Executive Director)                                                                                                                   Strictly Private & Confidential




             Matt Rahmani (Executive Director) - Case Hours Summary (Mar-23)
Categories                                                                          Hours
Correspondence with Debtor Advisors and Principals                                   10.0
Correspondence with Creditors, UCC, and Advisors                                      8.0
Correspondence with Third-Parties                                                    25.0
Due Diligence and Restructuring Strategy                                             32.5
Sale Process Matters                                                                 13.5
Financing Matters                                                                     -
Court Hearings                                                                        -
Other Administrative Processes and Analysis                                           -
Total                                                                                89.0

                                                                     Case Hours Detail (Mar-23)
        Date                  Day        Hours                    Category                                                           Activity

      03/01/23         Wednesday           1.5         Correspondence with Third-Parties    3 calls with third parties interested in venture sale processes


                                                        Due Diligence and Restructuring
      03/01/23       Wednesday             0.5                                              Diligence session regarding subsidiary
                                                                   Strategy

                                                     Correspondence with Debtor Advisors
      03/01/23       Wednesday             0.5                                           Venture investment planning with S&C
                                                               and Principals

                                                        Due Diligence and Restructuring
      03/01/23       Wednesday             5.0                                              Preparation of venture board materials
                                                                   Strategy


      03/02/23       Thursday              2.0         Correspondence with Third-Parties    4 calls with third parties interested in venture sale processes


                                                     Correspondence with Creditors, UCC,
      03/02/23       Thursday              0.5                                           Session with UCC advisors regarding fund asset in portfolio
                                                               and Advisors

                                                        Due Diligence and Restructuring
      03/02/23       Thursday              4.0                                              Internal analysis on exchange platforms
                                                                   Strategy


      03/03/23       Friday                2.0         Correspondence with Third-Parties    4 calls with third parties interested in venture sale processes


                                                        Due Diligence and Restructuring
      03/03/23       Friday                0.5                                              Update call with portfolio company
                                                                   Strategy

                                                     Correspondence with Creditors, UCC,
      03/03/23       Friday                1.0                                           Process updates with UCC advisors
                                                               and Advisors
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Matt Rahmani (Executive Director)                                                                                                       Strictly Private & Confidential




      03/03/23       Friday         4.0           Sale Process Matters          Fund investments summary


      03/06/23       Monday         0.5     Correspondence with Third-Parties   1 call with third parties interested in venture sale processes


                                           Correspondence with Debtor Advisors
      03/06/23       Monday         1.0                                        Ventures board meeting
                                                     and Principals


      03/06/23       Monday         1.0     Correspondence with Third-Parties   2 calls with third parties interested in venture sale processes


      03/06/23       Monday         0.5           Sale Process Matters          Call with third party interested in fund sale process


      03/06/23       Monday         4.0           Sale Process Matters          Fund investments summary


                                           Correspondence with Debtor Advisors
      03/07/23       Tuesday        1.0                                        PMO Meeting with Debtors' advisors John Ray, S&C, A&M
                                                     and Principals


      03/07/23       Tuesday        0.5     Correspondence with Third-Parties   1 call with third parties interested in venture sale processes


      03/08/23       Wednesday      0.5     Correspondence with Third-Parties   2 calls with third parties interested in venture sale processes


                                             Due Diligence and Restructuring
      03/08/23       Wednesday      0.5                                         Update call with portfolio company
                                                        Strategy

                                           Correspondence with Debtor Advisors
      03/08/23       Wednesday      0.5                                        Venture investment planning with S&C
                                                     and Principals

                                             Due Diligence and Restructuring
      03/08/23       Wednesday      4.0                                         Internal analysis on exchange platforms
                                                        Strategy

                                             Due Diligence and Restructuring
      03/08/23       Wednesday      5.0                                         Preparation of venture board materials
                                                        Strategy

                                           Correspondence with Creditors, UCC,
      03/09/23       Thursday       1.0                                        Process updates with UCC advisors
                                                     and Advisors
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Matt Rahmani (Executive Director)                                                                                                       Strictly Private & Confidential




      03/09/23       Thursday       5.0           Sale Process Matters          Fund investments summary


                                           Correspondence with Debtor Advisors
      03/09/23       Thursday       1.0                                        Ventures board meeting
                                                     and Principals


      03/09/23       Thursday       0.5     Correspondence with Third-Parties   1 call with third parties interested in venture sale processes


                                             Due Diligence and Restructuring
      03/09/23       Thursday       0.5                                         Internal workstreams catchup call
                                                        Strategy


      03/10/23       Friday         0.5     Correspondence with Third-Parties   1 call with third parties interested in venture sale processes


      03/13/23       Monday         0.5     Correspondence with Third-Parties   1 call with third parties interested in venture sale processes


                                             Due Diligence and Restructuring
      03/13/23       Monday         0.5                                         Update call with portfolio company
                                                        Strategy

                                             Due Diligence and Restructuring
      03/14/23       Tuesday        0.5                                         Diligence session regarding subsidiary
                                                        Strategy

                                           Correspondence with Debtor Advisors
      03/14/23       Tuesday        1.0                                        PMO Meeting with Debtors' advisors John Ray, S&C, A&M
                                                     and Principals

                                           Correspondence with Creditors, UCC,
      03/14/23       Tuesday        0.5                                        Discussion with UCC advisors on fund sale process
                                                     and Advisors


      03/14/23       Tuesday        1.0     Correspondence with Third-Parties   2 calls with third parties interested in venture sale processes


                                             Due Diligence and Restructuring
      03/15/23       Wednesday      0.5                                         Internal analysis on exchange platforms
                                                        Strategy

                                           Correspondence with Debtor Advisors
      03/15/23       Wednesday      0.5                                        Venture investment planning with S&C
                                                     and Principals

                                           Correspondence with Creditors, UCC,
      03/15/23       Wednesday      1.0                                        Process updates with UCC advisors
                                                     and Advisors
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Matt Rahmani (Executive Director)                                                                                                       Strictly Private & Confidential




      03/15/23       Wednesday      1.0     Correspondence with Third-Parties   2 calls with third parties interested in venture sale processes


                                             Due Diligence and Restructuring
      03/15/23       Wednesday      2.0                                         Preparation of venture board materials
                                                        Strategy


      03/16/23       Thursday       0.5     Correspondence with Third-Parties   1 call with third parties interested in venture sale processes


                                           Correspondence with Debtor Advisors
      03/16/23       Thursday       0.5                                        Venture investment planning with S&C
                                                     and Principals

                                             Due Diligence and Restructuring
      03/16/23       Thursday       1.0                                         Internal analysis on exchange platforms
                                                        Strategy


      03/17/23       Friday         2.5     Correspondence with Third-Parties   5 calls with third parties interested in venture sale processes


      03/20/23       Monday         2.0     Correspondence with Third-Parties   4 calls with third parties interested in venture sale processes


                                             Due Diligence and Restructuring
      03/20/23       Monday         1.0                                         Internal coordination for fund sale process
                                                        Strategy

                                           Correspondence with Debtor Advisors
      03/21/23       Tuesday        1.0                                        PMO Meeting with Debtors' advisors John Ray, S&C, A&M
                                                     and Principals


      03/21/23       Tuesday        0.5     Correspondence with Third-Parties   1 call with third parties interested in venture sale processes


                                             Due Diligence and Restructuring
      03/21/23       Tuesday        3.0                                         Preparation of venture board materials
                                                        Strategy


      03/22/23       Wednesday      0.5     Correspondence with Third-Parties   1 call with third parties interested in venture sale processes


                                           Correspondence with Debtor Advisors
      03/22/23       Wednesday      0.5                                        Venture investment planning with S&C
                                                     and Principals

                                             Due Diligence and Restructuring
      03/22/23       Wednesday      1.0                                         Internal analysis on exchange platforms
                                                        Strategy
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Matt Rahmani (Executive Director)                                                                                                       Strictly Private & Confidential



                                           Correspondence with Debtor Advisors
      03/23/23       Thursday       1.0                                        Ventures board meeting
                                                     and Principals

                                           Correspondence with Creditors, UCC,
      03/23/23       Thursday       0.5                                        Process update with UCC advisors
                                                     and Advisors

                                           Correspondence with Creditors, UCC,
      03/23/23       Thursday       0.5                                        Discussion with UCC advisors on token status
                                                     and Advisors


      03/24/23       Friday         2.5     Correspondence with Third-Parties   5 calls with third parties interested in venture sale processes


      03/27/23       Monday         1.5     Correspondence with Third-Parties   3 calls with third parties interested in venture sale processes


      03/28/23       Tuesday        1.0     Correspondence with Third-Parties   2 calls with third parties interested in venture sale processes


                                           Correspondence with Debtor Advisors
      03/28/23       Tuesday        1.0                                        PMO Meeting with Debtors' advisors John Ray, S&C, A&M
                                                     and Principals

                                             Due Diligence and Restructuring
      03/28/23       Tuesday        2.0                                         Internal analysis on exchange platforms
                                                        Strategy

                                           Correspondence with Debtor Advisors
      03/29/23       Wednesday      0.5                                        Venture investment planning with S&C
                                                     and Principals

                                             Due Diligence and Restructuring
      03/29/23       Wednesday      1.0                                         Internal analysis on exchange platforms
                                                        Strategy


      03/29/23       Wednesday      0.5     Correspondence with Third-Parties   1 call with third parties interested in venture sale processes


                                           Correspondence with Creditors, UCC,
      03/30/23       Thursday       3.0                                        Process updates with UCC advisors
                                                     and Advisors


      03/30/23       Thursday       0.5     Correspondence with Third-Parties   1 call with third parties interested in venture sale processes


      03/31/23       Friday         1.5     Correspondence with Third-Parties   3 calls with third parties interested in venture sale processes
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Kendyl Flinn (Associate)                                                                                                                             Strictly Private & Confidential




                   Kendyl Flinn (Associate) - Case Hours Summary (Mar-23)
Categories                                                                           Hours
Correspondence with Debtor Advisors and Principals                                    11.0
Correspondence with Creditors, UCC, and Advisors                                       8.0
Correspondence with Third-Parties                                                     25.0
Due Diligence and Restructuring Strategy                                              41.5
Sale Process Matters                                                                  20.0
Financing Matters                                                                      -
Court Hearings                                                                         -
Other Administrative Processes and Analysis                                            4.5
Total                                                                                110.0

                                                                      Case Hours Detail (Mar-23)
        Date                  Day         Hours                    Category                                                           Activity

      03/01/23         Wednesday            1.5         Correspondence with Third-Parties    3 calls with third parties interested in venture sale processes


                                                         Due Diligence and Restructuring
      03/01/23       Wednesday              0.5                                              Diligence session regarding subsidiary
                                                                    Strategy

                                                      Correspondence with Debtor Advisors
      03/01/23       Wednesday              0.5                                           Venture investment planning with S&C
                                                                and Principals

                                                         Due Diligence and Restructuring
      03/01/23       Wednesday              5.0                                              Preparation of venture board materials
                                                                    Strategy


      03/02/23       Thursday               1.0               Sale Process Matters           Call with third party interested in fund sale process


      03/02/23       Thursday               2.0         Correspondence with Third-Parties    4 calls with third parties interested in venture sale processes


                                                      Correspondence with Creditors, UCC,
      03/02/23       Thursday               0.5                                           Session with UCC advisors regarding fund asset in portfolio
                                                                and Advisors

                                                         Due Diligence and Restructuring
      03/02/23       Thursday               1.0                                              Preparation of PMO venture update
                                                                    Strategy

                                                         Due Diligence and Restructuring
      03/02/23       Thursday               4.0                                              Internal analysis on exchange platforms
                                                                    Strategy


      03/03/23       Friday                 2.0         Correspondence with Third-Parties    4 calls with third parties interested in venture sale processes
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Kendyl Flinn (Associate)                                                                                                             Strictly Private & Confidential



                                          Due Diligence and Restructuring
      03/03/23       Friday      0.5                                         Update call with portfolio company
                                                     Strategy

                                        Correspondence with Creditors, UCC,
      03/03/23       Friday      1.0                                        Process updates with UCC advisors
                                                  and Advisors


      03/03/23       Friday      4.0           Sale Process Matters          Fund investments summary


      03/06/23       Monday      0.5     Correspondence with Third-Parties   1 call with third parties interested in venture sale processes


                                        Correspondence with Debtor Advisors
      03/06/23       Monday      1.0                                        Ventures board meeting
                                                  and Principals


      03/06/23       Monday      1.0     Correspondence with Third-Parties   2 calls with third parties interested in venture sale processes


      03/06/23       Monday      0.5           Sale Process Matters          Call with third party interested in fund sale process


      03/06/23       Monday      4.0           Sale Process Matters          Fund investments summary


      03/07/23       Tuesday     1.0           Sale Process Matters          Call to finalize PSA documentation for sale of fund


                                        Correspondence with Debtor Advisors
      03/07/23       Tuesday     1.0                                        PMO Meeting with Debtors' advisors John Ray, S&C, A&M
                                                  and Principals


      03/07/23       Tuesday     0.5           Sale Process Matters          Call with third party interested in fund sale process


      03/07/23       Tuesday     0.5     Correspondence with Third-Parties   1 call with third parties interested in venture sale processes


      03/08/23       Wednesday   0.5     Correspondence with Third-Parties   2 calls with third parties interested in venture sale processes


                                          Due Diligence and Restructuring
      03/08/23       Wednesday   0.5                                         Update call with portfolio company
                                                     Strategy
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Kendyl Flinn (Associate)                                                                                                             Strictly Private & Confidential



                                        Correspondence with Debtor Advisors
      03/08/23       Wednesday   0.5                                        Venture investment planning with S&C
                                                  and Principals

                                          Due Diligence and Restructuring
      03/08/23       Wednesday   4.0                                         Internal analysis on exchange platforms
                                                     Strategy

                                          Due Diligence and Restructuring
      03/08/23       Wednesday   5.0                                         Preparation of venture board materials
                                                     Strategy

                                        Correspondence with Creditors, UCC,
      03/09/23       Thursday    1.0                                        Process updates with UCC advisors
                                                  and Advisors


      03/09/23       Thursday    5.0           Sale Process Matters          Fund investments summary


                                        Correspondence with Debtor Advisors
      03/09/23       Thursday    1.0                                        Ventures board meeting
                                                  and Principals


      03/09/23       Thursday    0.5     Correspondence with Third-Parties   1 call with third parties interested in venture sale processes


                                        Correspondence with Debtor Advisors
      03/09/23       Thursday    1.0                                        Review of SOFA schedule with A&M
                                                  and Principals

                                          Due Diligence and Restructuring
      03/09/23       Thursday    0.5                                         Internal workstreams catchup call
                                                     Strategy


      03/10/23       Friday      0.5     Correspondence with Third-Parties   1 call with third parties interested in venture sale processes


                                          Due Diligence and Restructuring
      03/10/23       Friday      0.5                                         Preparation of PMO venture update
                                                     Strategy


      03/13/23       Monday      0.5     Correspondence with Third-Parties   1 call with third parties interested in venture sale processes


                                          Due Diligence and Restructuring
      03/13/23       Monday      0.5                                         Update call with portfolio company
                                                     Strategy

                                          Due Diligence and Restructuring
      03/14/23       Tuesday     0.5                                         Diligence session regarding subsidiary
                                                     Strategy
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Kendyl Flinn (Associate)                                                                                                              Strictly Private & Confidential



                                        Correspondence with Debtor Advisors
      03/14/23       Tuesday     1.0                                        PMO Meeting with Debtors' advisors John Ray, S&C, A&M
                                                  and Principals

                                        Correspondence with Creditors, UCC,
      03/14/23       Tuesday     0.5                                        Discussion with UCC advisors on fund sale process
                                                  and Advisors


      03/14/23       Tuesday     1.0     Correspondence with Third-Parties    2 calls with third parties interested in venture sale processes


                                          Due Diligence and Restructuring
      03/14/23       Tuesday     1.0                                          Update call with portfolio company
                                                     Strategy

                                          Due Diligence and Restructuring
      03/15/23       Wednesday   0.5                                          Internal analysis on exchange platforms
                                                     Strategy

                                        Correspondence with Debtor Advisors
      03/15/23       Wednesday   0.5                                        Venture investment planning with S&C
                                                  and Principals

                                        Correspondence with Creditors, UCC,
      03/15/23       Wednesday   1.0                                        Process updates with UCC advisors
                                                  and Advisors


      03/15/23       Wednesday   1.0     Correspondence with Third-Parties    2 calls with third parties interested in venture sale processes


                                          Due Diligence and Restructuring
      03/15/23       Wednesday   2.0                                          Preparation of venture board materials
                                                     Strategy

                                         Other Administrative Processes and
      03/15/23       Wednesday   0.5                                          Weekly hours tracker maintenance
                                                      Analysis

                                         Other Administrative Processes and
      03/15/23       Wednesday   1.0                                          Weekly investment tracker maintenance
                                                      Analysis


      03/16/23       Thursday    0.5     Correspondence with Third-Parties    1 call with third parties interested in venture sale processes


                                          Due Diligence and Restructuring
      03/16/23       Thursday    1.5                                          Update call with portfolio companies
                                                     Strategy

                                        Correspondence with Debtor Advisors
      03/16/23       Thursday    0.5                                        Venture investment planning with S&C
                                                  and Principals
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Kendyl Flinn (Associate)                                                                                                             Strictly Private & Confidential



                                          Due Diligence and Restructuring
      03/16/23       Thursday    1.0                                         Internal analysis on exchange platforms
                                                     Strategy


      03/17/23       Friday      2.5     Correspondence with Third-Parties   5 calls with third parties interested in venture sale processes


                                          Due Diligence and Restructuring
      03/17/23       Friday      0.5                                         Preparation of PMO venture update
                                                     Strategy


      03/17/23       Friday      2.0           Sale Process Matters          Fund investments summary


                                          Due Diligence and Restructuring
      03/20/23       Monday      0.5                                         Internal discussion on portfolio company
                                                     Strategy


      03/20/23       Monday      2.0     Correspondence with Third-Parties   4 calls with third parties interested in venture sale processes


                                          Due Diligence and Restructuring
      03/20/23       Monday      1.0                                         Internal coordination for fund sale process
                                                     Strategy

                                          Due Diligence and Restructuring
      03/21/23       Tuesday     1.0                                         Internal discussion on venture portfolio diligence requests
                                                     Strategy

                                        Correspondence with Debtor Advisors
      03/21/23       Tuesday     1.0                                        PMO Meeting with Debtors' advisors John Ray, S&C, A&M
                                                  and Principals


      03/21/23       Tuesday     0.5     Correspondence with Third-Parties   1 call with third parties interested in venture sale processes


      03/21/23       Tuesday     2.0           Sale Process Matters          Fund investments summary


                                          Due Diligence and Restructuring
      03/21/23       Tuesday     3.0                                         Preparation of venture board materials
                                                     Strategy


      03/22/23       Wednesday   0.5     Correspondence with Third-Parties   1 call with third parties interested in venture sale processes


                                        Correspondence with Debtor Advisors
      03/22/23       Wednesday   0.5                                        Venture investment planning with S&C
                                                  and Principals
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Kendyl Flinn (Associate)                                                                                                              Strictly Private & Confidential



                                          Due Diligence and Restructuring
      03/22/23       Wednesday   1.0                                          Internal analysis on exchange platforms
                                                     Strategy

                                        Correspondence with Debtor Advisors
      03/23/23       Thursday    1.0                                        Ventures board meeting
                                                  and Principals

                                        Correspondence with Creditors, UCC,
      03/23/23       Thursday    0.5                                        Process update with UCC advisors
                                                  and Advisors

                                        Correspondence with Creditors, UCC,
      03/23/23       Thursday    0.5                                        Discussion with UCC advisors on token status
                                                  and Advisors


      03/24/23       Friday      2.5     Correspondence with Third-Parties    5 calls with third parties interested in venture sale processes


                                          Due Diligence and Restructuring
      03/24/23       Friday      1.0                                          Preparation of PMO venture update
                                                     Strategy

                                         Other Administrative Processes and
      03/24/23       Friday      0.5                                          Weekly hours tracker maintenance
                                                      Analysis

                                         Other Administrative Processes and
      03/24/23       Friday      1.0                                          Weekly investment tracker maintenance
                                                      Analysis


      03/27/23       Monday      1.5     Correspondence with Third-Parties    3 calls with third parties interested in venture sale processes


                                          Due Diligence and Restructuring
      03/27/23       Monday      2.0                                          Fund investments summary
                                                     Strategy


      03/28/23       Tuesday     1.0     Correspondence with Third-Parties    2 calls with third parties interested in venture sale processes


                                        Correspondence with Debtor Advisors
      03/28/23       Tuesday     1.0                                        PMO Meeting with Debtors' advisors John Ray, S&C, A&M
                                                  and Principals

                                          Due Diligence and Restructuring
      03/28/23       Tuesday     2.0                                          Internal analysis on exchange platforms
                                                     Strategy

                                        Correspondence with Debtor Advisors
      03/29/23       Wednesday   0.5                                        Venture investment planning with S&C
                                                  and Principals
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Kendyl Flinn (Associate)                                                                                                              Strictly Private & Confidential



                                          Due Diligence and Restructuring
      03/29/23       Wednesday   1.0                                          Internal analysis on exchange platforms
                                                     Strategy


      03/29/23       Wednesday   0.5     Correspondence with Third-Parties    1 call with third parties interested in venture sale processes


                                        Correspondence with Creditors, UCC,
      03/30/23       Thursday    3.0                                        Process updates with UCC advisors
                                                  and Advisors


      03/30/23       Thursday    0.5     Correspondence with Third-Parties    1 call with third parties interested in venture sale processes


      03/31/23       Friday      1.5     Correspondence with Third-Parties    3 calls with third parties interested in venture sale processes


                                         Other Administrative Processes and
      03/31/23       Friday      0.5                                          Weekly hours tracker maintenance
                                                      Analysis

                                         Other Administrative Processes and
      03/31/23       Friday      1.0                                          Weekly investment tracker maintenance
                                                      Analysis
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Bruce Baker (Associate)                                                                                                                         Strictly Private & Confidential




                   Bruce Baker (Associate) - Case Hours Summary (Mar-23)
Categories                                                                          Hours
Correspondence with Debtor Advisors and Principals                                    4.5
Correspondence with Creditors, UCC, and Advisors                                      1.0
Correspondence with Third-Parties                                                     -
Due Diligence and Restructuring Strategy                                             11.5
Sale Process Matters                                                                  -
Financing Matters                                                                     -
Court Hearings                                                                        -
Other Administrative Processes and Analysis                                           -
Total                                                                                17.0

                                                                      Case Hours Detail (Mar-23)
        Date               Day            Hours                    Category                                                          Activity

                                                        Due Diligence and Restructuring
      03/13/23            Monday           0.5                                              Update call with portfolio company
                                                                   Strategy

                                                        Due Diligence and Restructuring
      03/14/23       Tuesday               0.5                                              Diligence session regarding subsidiary
                                                                   Strategy

                                                      Correspondence with Debtor Advisors
      03/14/23       Tuesday               1.0                                            PMO Meeting with Debtors' advisors John Ray, S&C, A&M
                                                                and Principals

                                                        Due Diligence and Restructuring
      03/14/23       Tuesday               1.0                                              Update call with portfolio company
                                                                   Strategy

                                                      Correspondence with Creditors, UCC,
      03/15/23       Wednesday             1.0                                            Process updates with UCC advisors
                                                                and Advisors

                                                        Due Diligence and Restructuring
      03/15/23       Wednesday             2.0                                              Preparation of venture board materials
                                                                   Strategy

                                                        Due Diligence and Restructuring
      03/16/23       Thursday              1.5                                              Update call with portfolio companies
                                                                   Strategy

                                                      Correspondence with Debtor Advisors
      03/16/23       Thursday              0.5                                            Venture investment planning with S&C
                                                                and Principals

                                                        Due Diligence and Restructuring
      03/20/23       Monday                1.0                                              Internal coordination for fund sale process
                                                                   Strategy

                                                        Due Diligence and Restructuring
      03/21/23       Tuesday               1.0                                              Daily review of emails / materials / analyses
                                                                   Strategy
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Bruce Baker (Associate)                                                                                                         Strictly Private & Confidential



                                        Due Diligence and Restructuring
      03/21/23      Tuesday    1.0                                        Internal discussion on venture portfolio diligence requests
                                                   Strategy

                                      Correspondence with Debtor Advisors
      03/21/23      Tuesday    1.0                                        PMO Meeting with Debtors' advisors John Ray, S&C, A&M
                                                and Principals

                                        Due Diligence and Restructuring
      03/21/23      Tuesday    3.0                                        Preparation of venture board materials
                                                   Strategy

                                      Correspondence with Debtor Advisors
      03/23/23      Thursday   1.0                                        Ventures board meeting
                                                and Principals

                                      Correspondence with Debtor Advisors
      03/28/23      Tuesday    1.0                                        PMO Meeting with Debtors' advisors John Ray, S&C, A&M
                                                and Principals
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Sam Saferstein (Analyst)                                                                                                                             Strictly Private & Confidential




                   Sam Saferstein (Analyst) - Case Hours Summary (Mar-23)
Categories                                                                           Hours
Correspondence with Debtor Advisors and Principals                                    11.0
Correspondence with Creditors, UCC, and Advisors                                       2.0
Correspondence with Third-Parties                                                      -
Due Diligence and Restructuring Strategy                                              38.0
Sale Process Matters                                                                  18.5
Financing Matters                                                                      -
Court Hearings                                                                         -
Other Administrative Processes and Analysis                                            4.5
Total                                                                                 74.0

                                                                      Case Hours Detail (Mar-23)
        Date                  Day         Hours                    Category                                                           Activity

                                                         Due Diligence and Restructuring
      03/01/23         Wednesday            0.5                                              Diligence session regarding subsidiary
                                                                    Strategy

                                                      Correspondence with Debtor Advisors
      03/01/23       Wednesday              0.5                                           Venture investment planning with S&C
                                                                and Principals

                                                         Due Diligence and Restructuring
      03/01/23       Wednesday              5.0                                              Preparation of venture board materials
                                                                    Strategy

                                                      Correspondence with Creditors, UCC,
      03/02/23       Thursday               0.5                                           Session with UCC advisors regarding fund asset in portfolio
                                                                and Advisors

                                                         Due Diligence and Restructuring
      03/02/23       Thursday               4.0                                              Internal analysis on exchange platforms
                                                                    Strategy


      03/03/23       Friday                 4.0               Sale Process Matters           Fund investments summary


                                                      Correspondence with Debtor Advisors
      03/06/23       Monday                 1.0                                           Ventures board meeting
                                                                and Principals


      03/06/23       Monday                 0.5               Sale Process Matters           Call with third party interested in fund sale process


      03/06/23       Monday                 4.0               Sale Process Matters           Fund investments summary


                                                      Correspondence with Debtor Advisors
      03/07/23       Tuesday                1.0                                           PMO Meeting with Debtors' advisors John Ray, S&C, A&M
                                                                and Principals
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Sam Saferstein (Analyst)                                                                                                    Strictly Private & Confidential



                                          Due Diligence and Restructuring
      03/08/23       Wednesday   0.5                                        Update call with portfolio company
                                                     Strategy

                                        Correspondence with Debtor Advisors
      03/08/23       Wednesday   0.5                                        Venture investment planning with S&C
                                                  and Principals

                                          Due Diligence and Restructuring
      03/08/23       Wednesday   4.0                                        Internal analysis on exchange platforms
                                                     Strategy

                                          Due Diligence and Restructuring
      03/08/23       Wednesday   5.0                                        Preparation of venture board materials
                                                     Strategy


      03/09/23       Thursday    5.0           Sale Process Matters         Fund investments summary


                                        Correspondence with Debtor Advisors
      03/09/23       Thursday    1.0                                        Ventures board meeting
                                                  and Principals

                                        Correspondence with Debtor Advisors
      03/09/23       Thursday    1.0                                        Review of SOFA schedule with A&M
                                                  and Principals

                                          Due Diligence and Restructuring
      03/09/23       Thursday    0.5                                        Internal workstreams catchup call
                                                     Strategy

                                          Due Diligence and Restructuring
      03/13/23       Monday      0.5                                        Update call with portfolio company
                                                     Strategy

                                          Due Diligence and Restructuring
      03/14/23       Tuesday     0.5                                        Diligence session regarding subsidiary
                                                     Strategy

                                        Correspondence with Debtor Advisors
      03/14/23       Tuesday     1.0                                        PMO Meeting with Debtors' advisors John Ray, S&C, A&M
                                                  and Principals

                                          Due Diligence and Restructuring
      03/14/23       Tuesday     1.0                                        Update call with portfolio company
                                                     Strategy


      03/14/23       Tuesday     1.0           Sale Process Matters         Internal Discussion on Dave


                                          Due Diligence and Restructuring
      03/15/23       Wednesday   0.5                                        Internal analysis on exchange platforms
                                                     Strategy
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Sam Saferstein (Analyst)                                                                                                             Strictly Private & Confidential



                                        Correspondence with Debtor Advisors
      03/15/23       Wednesday   0.5                                        Venture investment planning with S&C
                                                  and Principals

                                        Correspondence with Creditors, UCC,
      03/15/23       Wednesday   1.0                                        Process updates with UCC advisors
                                                  and Advisors

                                          Due Diligence and Restructuring
      03/15/23       Wednesday   2.0                                          Preparation of venture board materials
                                                     Strategy

                                         Other Administrative Processes and
      03/15/23       Wednesday   0.5                                          Weekly hours tracker maintenance
                                                      Analysis

                                         Other Administrative Processes and
      03/15/23       Wednesday   1.0                                          Weekly investment tracker maintenance
                                                      Analysis

                                          Due Diligence and Restructuring
      03/16/23       Thursday    1.5                                          Update call with portfolio companies
                                                     Strategy

                                        Correspondence with Debtor Advisors
      03/16/23       Thursday    0.5                                        Venture investment planning with S&C
                                                  and Principals

                                          Due Diligence and Restructuring
      03/16/23       Thursday    1.0                                          Internal analysis on exchange platforms
                                                     Strategy


      03/17/23       Friday      2.0           Sale Process Matters           Fund investments summary


                                          Due Diligence and Restructuring
      03/20/23       Monday      0.5                                          Internal discussion on portfolio company
                                                     Strategy

                                          Due Diligence and Restructuring
      03/20/23       Monday      1.0                                          Internal coordination for fund sale process
                                                     Strategy

                                          Due Diligence and Restructuring
      03/21/23       Tuesday     1.0                                          Internal discussion on venture portfolio diligence requests
                                                     Strategy

                                        Correspondence with Debtor Advisors
      03/21/23       Tuesday     1.0                                        PMO Meeting with Debtors' advisors John Ray, S&C, A&M
                                                  and Principals


      03/21/23       Tuesday     2.0           Sale Process Matters           Fund investments summary
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Sam Saferstein (Analyst)                                                                                                    Strictly Private & Confidential



                                          Due Diligence and Restructuring
      03/21/23       Tuesday     3.0                                          Preparation of venture board materials
                                                     Strategy

                                        Correspondence with Debtor Advisors
      03/22/23       Wednesday   0.5                                        Venture investment planning with S&C
                                                  and Principals

                                          Due Diligence and Restructuring
      03/22/23       Wednesday   1.0                                          Internal analysis on exchange platforms
                                                     Strategy

                                        Correspondence with Debtor Advisors
      03/23/23       Thursday    1.0                                        Ventures board meeting
                                                  and Principals

                                        Correspondence with Creditors, UCC,
      03/23/23       Thursday    0.5                                        Process update with UCC advisors
                                                  and Advisors

                                         Other Administrative Processes and
      03/24/23       Friday      0.5                                          Weekly hours tracker maintenance
                                                      Analysis

                                         Other Administrative Processes and
      03/24/23       Friday      1.0                                          Weekly investment tracker maintenance
                                                      Analysis

                                          Due Diligence and Restructuring
      03/27/23       Monday      2.0                                          Fund investments summary
                                                     Strategy

                                        Correspondence with Debtor Advisors
      03/28/23       Tuesday     1.0                                        PMO Meeting with Debtors' advisors John Ray, S&C, A&M
                                                  and Principals

                                          Due Diligence and Restructuring
      03/28/23       Tuesday     2.0                                          Internal analysis on exchange platforms
                                                     Strategy

                                        Correspondence with Debtor Advisors
      03/29/23       Wednesday   0.5                                        Venture investment planning with S&C
                                                  and Principals

                                          Due Diligence and Restructuring
      03/29/23       Wednesday   1.0                                          Internal analysis on exchange platforms
                                                     Strategy

                                         Other Administrative Processes and
      03/31/23       Friday      0.5                                          Weekly hours tracker maintenance
                                                      Analysis

                                         Other Administrative Processes and
      03/31/23       Friday      1.0                                          Weekly investment tracker maintenance
                                                      Analysis
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Nikhil Velivela (Analyst)                                                                                                                             Strictly Private & Confidential




                   Nikhil Velivela (Analyst) - Case Hours Summary (Mar-23)
Categories                                                                            Hours
Correspondence with Debtor Advisors and Principals                                     11.0
Correspondence with Creditors, UCC, and Advisors                                        2.0
Correspondence with Third-Parties                                                       -
Due Diligence and Restructuring Strategy                                               41.0
Sale Process Matters                                                                   17.5
Financing Matters                                                                       -
Court Hearings                                                                          -
Other Administrative Processes and Analysis                                             4.5
Total                                                                                  76.0

                                                                        Case Hours Detail (Mar-23)
        Date                    Day        Hours                     Category                                                          Activity

                                                          Due Diligence and Restructuring
      03/01/23              Wednesday       0.5                                               Diligence session regarding subsidiary
                                                                     Strategy

                                                       Correspondence with Debtor Advisors
      03/01/23         Wednesday            0.5                                            Venture investment planning with S&C
                                                                 and Principals

                                                          Due Diligence and Restructuring
      03/01/23         Wednesday            5.0                                               Preparation of venture board materials
                                                                     Strategy

                                                       Correspondence with Creditors, UCC,
      03/02/23         Thursday             0.5                                            Session with UCC advisors regarding fund asset in portfolio
                                                                 and Advisors

                                                          Due Diligence and Restructuring
      03/02/23         Thursday             1.0                                               Preparation of PMO venture update
                                                                     Strategy

                                                          Due Diligence and Restructuring
      03/02/23         Thursday             4.0                                               Internal analysis on exchange platforms
                                                                     Strategy


      03/03/23         Friday               4.0                Sale Process Matters           Fund investments summary


                                                       Correspondence with Debtor Advisors
      03/06/23         Monday               1.0                                            Ventures board meeting
                                                                 and Principals


      03/06/23         Monday               0.5                Sale Process Matters           Call with third party interested in fund sale process


      03/06/23         Monday               4.0                Sale Process Matters           Fund investments summary
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Nikhil Velivela (Analyst)                                                                                                     Strictly Private & Confidential



                                          Correspondence with Debtor Advisors
      03/07/23         Tuesday     1.0                                        PMO Meeting with Debtors' advisors John Ray, S&C, A&M
                                                    and Principals

                                            Due Diligence and Restructuring
      03/08/23         Wednesday   0.5                                        Update call with portfolio company
                                                       Strategy

                                          Correspondence with Debtor Advisors
      03/08/23         Wednesday   0.5                                        Venture investment planning with S&C
                                                    and Principals

                                            Due Diligence and Restructuring
      03/08/23         Wednesday   4.0                                        Internal analysis on exchange platforms
                                                       Strategy

                                            Due Diligence and Restructuring
      03/08/23         Wednesday   5.0                                        Preparation of venture board materials
                                                       Strategy


      03/09/23         Thursday    5.0           Sale Process Matters         Fund investments summary


                                          Correspondence with Debtor Advisors
      03/09/23         Thursday    1.0                                        Ventures board meeting
                                                    and Principals

                                          Correspondence with Debtor Advisors
      03/09/23         Thursday    1.0                                        Review of SOFA schedule with A&M
                                                    and Principals

                                            Due Diligence and Restructuring
      03/09/23         Thursday    0.5                                        Internal workstreams catchup call
                                                       Strategy

                                            Due Diligence and Restructuring
      03/10/23         Friday      0.5                                        Preparation of PMO venture update
                                                       Strategy

                                            Due Diligence and Restructuring
      03/13/23         Monday      0.5                                        Update call with portfolio company
                                                       Strategy

                                            Due Diligence and Restructuring
      03/14/23         Tuesday     0.5                                        Diligence session regarding subsidiary
                                                       Strategy

                                          Correspondence with Debtor Advisors
      03/14/23         Tuesday     1.0                                        PMO Meeting with Debtors' advisors John Ray, S&C, A&M
                                                    and Principals

                                            Due Diligence and Restructuring
      03/14/23         Tuesday     1.0                                        Update call with portfolio company
                                                       Strategy
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Nikhil Velivela (Analyst)                                                                                                              Strictly Private & Confidential



                                            Due Diligence and Restructuring
      03/15/23         Wednesday   0.5                                          Internal analysis on exchange platforms
                                                       Strategy

                                          Correspondence with Debtor Advisors
      03/15/23         Wednesday   0.5                                        Venture investment planning with S&C
                                                    and Principals

                                          Correspondence with Creditors, UCC,
      03/15/23         Wednesday   1.0                                        Process updates with UCC advisors
                                                    and Advisors

                                            Due Diligence and Restructuring
      03/15/23         Wednesday   2.0                                          Preparation of venture board materials
                                                       Strategy

                                           Other Administrative Processes and
      03/15/23         Wednesday   0.5                                          Weekly hours tracker maintenance
                                                        Analysis

                                           Other Administrative Processes and
      03/15/23         Wednesday   1.0                                          Weekly investment tracker maintenance
                                                        Analysis

                                            Due Diligence and Restructuring
      03/16/23         Thursday    1.5                                          Update call with portfolio companies
                                                       Strategy

                                          Correspondence with Debtor Advisors
      03/16/23         Thursday    0.5                                        Venture investment planning with S&C
                                                    and Principals

                                            Due Diligence and Restructuring
      03/16/23         Thursday    1.0                                          Internal analysis on exchange platforms
                                                       Strategy

                                            Due Diligence and Restructuring
      03/17/23         Friday      0.5                                          Preparation of PMO venture update
                                                       Strategy


      03/17/23         Friday      2.0           Sale Process Matters           Fund investments summary


                                            Due Diligence and Restructuring
      03/20/23         Monday      0.5                                          Internal discussion on portfolio company
                                                       Strategy

                                            Due Diligence and Restructuring
      03/20/23         Monday      1.0                                          Internal coordination for fund sale process
                                                       Strategy

                                            Due Diligence and Restructuring
      03/21/23         Tuesday     1.0                                          Internal discussion on venture portfolio diligence requests
                                                       Strategy
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Nikhil Velivela (Analyst)                                                                                                     Strictly Private & Confidential



                                          Correspondence with Debtor Advisors
      03/21/23         Tuesday     1.0                                        PMO Meeting with Debtors' advisors John Ray, S&C, A&M
                                                    and Principals


      03/21/23         Tuesday     2.0           Sale Process Matters           Fund investments summary


                                            Due Diligence and Restructuring
      03/21/23         Tuesday     3.0                                          Preparation of venture board materials
                                                       Strategy

                                          Correspondence with Debtor Advisors
      03/22/23         Wednesday   0.5                                        Venture investment planning with S&C
                                                    and Principals

                                            Due Diligence and Restructuring
      03/22/23         Wednesday   1.0                                          Internal analysis on exchange platforms
                                                       Strategy

                                          Correspondence with Debtor Advisors
      03/23/23         Thursday    1.0                                        Ventures board meeting
                                                    and Principals

                                          Correspondence with Creditors, UCC,
      03/23/23         Thursday    0.5                                        Process update with UCC advisors
                                                    and Advisors

                                            Due Diligence and Restructuring
      03/24/23         Friday      1.0                                          Preparation of PMO venture update
                                                       Strategy

                                           Other Administrative Processes and
      03/24/23         Friday      0.5                                          Weekly hours tracker maintenance
                                                        Analysis

                                           Other Administrative Processes and
      03/24/23         Friday      1.0                                          Weekly investment tracker maintenance
                                                        Analysis

                                            Due Diligence and Restructuring
      03/27/23         Monday      2.0                                          Fund investments summary
                                                       Strategy

                                          Correspondence with Debtor Advisors
      03/28/23         Tuesday     1.0                                        PMO Meeting with Debtors' advisors John Ray, S&C, A&M
                                                    and Principals

                                            Due Diligence and Restructuring
      03/28/23         Tuesday     2.0                                          Internal analysis on exchange platforms
                                                       Strategy

                                          Correspondence with Debtor Advisors
      03/29/23         Wednesday   0.5                                        Venture investment planning with S&C
                                                    and Principals
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Nikhil Velivela (Analyst)                                                                                                 Strictly Private & Confidential



                                            Due Diligence and Restructuring
      03/29/23         Wednesday   1.0                                          Internal analysis on exchange platforms
                                                       Strategy

                                           Other Administrative Processes and
      03/31/23         Friday      0.5                                          Weekly hours tracker maintenance
                                                        Analysis

                                           Other Administrative Processes and
      03/31/23         Friday      1.0                                          Weekly investment tracker maintenance
                                                        Analysis
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Michael Grace (Partner)                                                                                                                     Strictly Private & Confidential




                   Michael Grace (Partner) - Case Hours Summary (Mar-23)
Categories                                                                          Hours
Correspondence with Debtor Advisors and Principals                                   2.5
Correspondence with Creditors, UCC, and Advisors                                     -
Correspondence with Third-Parties                                                    6.0
Due Diligence and Restructuring Strategy                                             -
Sale Process Matters                                                                 -
Financing Matters                                                                    -
Court Hearings                                                                       -
Other Administrative Processes and Analysis                                          -
Total                                                                                8.5

                                                                      Case Hours Detail (Mar-23)
        Date                Day           Hours                    Category                                                    Activity

      03/02/23            Thursday         1.5         Correspondence with Third-Parties    Check-in with Embed bidder


      03/02/23       Thursday              1.5         Correspondence with Third-Parties    Embed phase II diligence management meetings with bidders


      03/06/23       Monday                1.0         Correspondence with Third-Parties    Embed phase II diligence management meetings with bidders


      03/06/23       Monday                0.5         Correspondence with Third-Parties    Check-in with Embed bidder


      03/08/23       Wednesday             1.0         Correspondence with Third-Parties    Embed phase II diligence management meetings with bidders


                                                      Correspondence with Debtor Advisors Internal discussion with FTX EU Management and S&C on M&A process, legal
      03/08/23       Wednesday             0.5
                                                                and Principals            updates, and data gathering


      03/16/23       Thursday              0.5         Correspondence with Third-Parties    Check-in with Embed bidder


                                                      Correspondence with Debtor Advisors
      03/22/23       Wednesday             0.5                                            Catch-up call with Embed management to discuss sale process next steps
                                                                and Principals

                                                      Correspondence with Debtor Advisors Internal discussion with FTX EU Management and S&C on M&A process, legal
      03/29/23       Wednesday             0.5
                                                                and Principals            updates, and data gathering

                                                      Correspondence with Debtor Advisors
      03/29/23       Wednesday             1.0                                            Conversation with Embed CTO on sale process
                                                                and Principals
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Max Mesny (Partner)                                                                                                                        Strictly Private & Confidential




                     Max Mesny (Partner) - Case Hours Summary (Mar-23)
Categories                                                                          Hours
Correspondence with Debtor Advisors and Principals                                   2.5
Correspondence with Creditors, UCC, and Advisors                                     -
Correspondence with Third-Parties                                                    -
Due Diligence and Restructuring Strategy                                             -
Sale Process Matters                                                                 4.0
Financing Matters                                                                    -
Court Hearings                                                                       -
Other Administrative Processes and Analysis                                          -
Total                                                                                6.5

                                                                     Case Hours Detail (Mar-23)
        Date              Day            Hours                    Category                                                      Activity

                                                     Correspondence with Debtor Advisors
      03/01/23         Wednesday           0.5                                           Venture investment planning with S&C
                                                               and Principals


      03/06/23        Monday               4.0               Sale Process Matters           Fund investments summary


                                                     Correspondence with Debtor Advisors
      03/08/23        Wednesday            0.5                                           Venture investment planning with S&C
                                                               and Principals

                                                     Correspondence with Debtor Advisors
      03/15/23        Wednesday            0.5                                           Venture investment planning with S&C
                                                               and Principals

                                                     Correspondence with Debtor Advisors
      03/22/23        Wednesday            0.5                                           Venture investment planning with S&C
                                                               and Principals

                                                     Correspondence with Debtor Advisors
      03/29/23        Wednesday            0.5                                           Venture investment planning with S&C
                                                               and Principals
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Timm Schipporeit (Partner)                                                                                                                 Strictly Private & Confidential




                 Timm Schipporeit (Partner) - Case Hours Summary (Mar-23)
Categories                                                                          Hours
Correspondence with Debtor Advisors and Principals                                   2.5
Correspondence with Creditors, UCC, and Advisors                                     -
Correspondence with Third-Parties                                                    -
Due Diligence and Restructuring Strategy                                             -
Sale Process Matters                                                                 4.0
Financing Matters                                                                    -
Court Hearings                                                                       -
Other Administrative Processes and Analysis                                          -
Total                                                                                6.5

                                                                     Case Hours Detail (Mar-23)
        Date                 Day         Hours                    Category                                                      Activity

                                                     Correspondence with Debtor Advisors
      03/01/23         Wednesday           0.5                                           Venture investment planning with S&C
                                                               and Principals


      03/06/23       Monday                4.0               Sale Process Matters           Fund investments summary


                                                     Correspondence with Debtor Advisors
      03/08/23       Wednesday             0.5                                           Venture investment planning with S&C
                                                               and Principals

                                                     Correspondence with Debtor Advisors
      03/15/23       Wednesday             0.5                                           Venture investment planning with S&C
                                                               and Principals

                                                     Correspondence with Debtor Advisors
      03/22/23       Wednesday             0.5                                           Venture investment planning with S&C
                                                               and Principals

                                                     Correspondence with Debtor Advisors
      03/29/23       Wednesday             0.5                                           Venture investment planning with S&C
                                                               and Principals
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Laura Klaassen (Managing Director)                                                                                                                 Strictly Private & Confidential




            Laura Klaassen (Managing Director) - Case Hours Summary (Mar-23)
Categories                                                                         Hours
Correspondence with Debtor Advisors and Principals                                   5.5
Correspondence with Creditors, UCC, and Advisors                                     -
Correspondence with Third-Parties                                                    2.5
Due Diligence and Restructuring Strategy                                             5.5
Sale Process Matters                                                                13.5
Financing Matters                                                                    -
Court Hearings                                                                       -
Other Administrative Processes and Analysis                                          -
Total                                                                               27.0

                                                                     Case Hours Detail (Mar-23)
       Date                  Day         Hours                    Category                                                          Activity

                                                     Correspondence with Debtor Advisors
      03/01/23         Wednesday          0.5                                            Venture investment planning with S&C
                                                               and Principals

                                                       Due Diligence and Restructuring
      03/01/23      Wednesday             5.0                                              Preparation of venture board materials
                                                                  Strategy

                                                     Correspondence with Debtor Advisors
      03/06/23      Monday                1.0                                            Ventures board meeting
                                                               and Principals


      03/06/23      Monday                0.5               Sale Process Matters           Call with third party interested in fund sale process


      03/06/23      Monday                4.0               Sale Process Matters           Fund investments summary


                                                     Correspondence with Debtor Advisors
      03/07/23      Tuesday               1.0                                            PMO Meeting with Debtors' advisors John Ray, S&C, A&M
                                                               and Principals

                                                     Correspondence with Debtor Advisors
      03/08/23      Wednesday             0.5                                            Venture investment planning with S&C
                                                               and Principals


      03/09/23      Thursday              5.0               Sale Process Matters           Fund investments summary


                                                       Due Diligence and Restructuring
      03/09/23      Thursday              0.5                                              Internal workstreams catchup call
                                                                  Strategy


      03/10/23      Friday                0.5         Correspondence with Third-Parties    1 call with third parties interested in venture sale processes
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Laura Klaassen (Managing Director)                                                                                                       Strictly Private & Confidential



                                            Correspondence with Debtor Advisors
      03/15/23      Wednesday        0.5                                        Venture investment planning with S&C
                                                      and Principals


      03/17/23      Friday           2.0           Sale Process Matters          Fund investments summary


      03/20/23      Monday           2.0     Correspondence with Third-Parties   4 calls with third parties interested in venture sale processes


      03/21/23      Tuesday          2.0           Sale Process Matters          Fund investments summary


                                            Correspondence with Debtor Advisors
      03/22/23      Wednesday        0.5                                        Venture investment planning with S&C
                                                      and Principals

                                            Correspondence with Debtor Advisors
      03/23/23      Thursday         1.0                                        Ventures board meeting
                                                      and Principals

                                            Correspondence with Debtor Advisors
      03/29/23      Wednesday        0.5                                        Venture investment planning with S&C
                                                      and Principals
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Ema Betts (Managing Director)                                                                                                                      Strictly Private & Confidential




               Ema Betts (Managing Director) - Case Hours Summary (Mar-23)
Categories                                                                         Hours
Correspondence with Debtor Advisors and Principals                                   5.5
Correspondence with Creditors, UCC, and Advisors                                     -
Correspondence with Third-Parties                                                    2.5
Due Diligence and Restructuring Strategy                                             5.5
Sale Process Matters                                                                13.5
Financing Matters                                                                    -
Court Hearings                                                                       -
Other Administrative Processes and Analysis                                          -
Total                                                                               27.0

                                                                     Case Hours Detail (Mar-23)
       Date                  Day         Hours                    Category                                                          Activity

                                                     Correspondence with Debtor Advisors
      03/01/23         Wednesday          0.5                                            Venture investment planning with S&C
                                                               and Principals

                                                       Due Diligence and Restructuring
      03/01/23      Wednesday             5.0                                              Preparation of venture board materials
                                                                  Strategy

                                                     Correspondence with Debtor Advisors
      03/06/23      Monday                1.0                                            Ventures board meeting
                                                               and Principals


      03/06/23      Monday                0.5               Sale Process Matters           Call with third party interested in fund sale process


      03/06/23      Monday                4.0               Sale Process Matters           Fund investments summary


                                                     Correspondence with Debtor Advisors
      03/07/23      Tuesday               1.0                                            PMO Meeting with Debtors' advisors John Ray, S&C, A&M
                                                               and Principals

                                                     Correspondence with Debtor Advisors
      03/08/23      Wednesday             0.5                                            Venture investment planning with S&C
                                                               and Principals


      03/09/23      Thursday              5.0               Sale Process Matters           Fund investments summary


                                                       Due Diligence and Restructuring
      03/09/23      Thursday              0.5                                              Internal workstreams catchup call
                                                                  Strategy


      03/10/23      Friday                0.5         Correspondence with Third-Parties    1 call with third parties interested in venture sale processes
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Ema Betts (Managing Director)                                                                                                       Strictly Private & Confidential



                                       Correspondence with Debtor Advisors
      03/15/23      Wednesday   0.5                                        Venture investment planning with S&C
                                                 and Principals


      03/17/23      Friday      2.0           Sale Process Matters          Fund investments summary


      03/20/23      Monday      2.0     Correspondence with Third-Parties   4 calls with third parties interested in venture sale processes


      03/21/23      Tuesday     2.0           Sale Process Matters          Fund investments summary


                                       Correspondence with Debtor Advisors
      03/22/23      Wednesday   0.5                                        Venture investment planning with S&C
                                                 and Principals

                                       Correspondence with Debtor Advisors
      03/23/23      Thursday    1.0                                        Ventures board meeting
                                                 and Principals

                                       Correspondence with Debtor Advisors
      03/29/23      Wednesday   0.5                                        Venture investment planning with S&C
                                                 and Principals
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Emmanuel Aidoo (Executive Director)                                                                                                       Strictly Private & Confidential




           Emmanuel Aidoo (Executive Director) - Case Hours Summary (Mar-23)
Categories                                                                        Hours
Correspondence with Debtor Advisors and Principals                                  -
Correspondence with Creditors, UCC, and Advisors                                    -
Correspondence with Third-Parties                                                   -
Due Diligence and Restructuring Strategy                                           13.5
Sale Process Matters                                                                -
Financing Matters                                                                   -
Court Hearings                                                                      -
Other Administrative Processes and Analysis                                         -
Total                                                                              13.5

                                                                   Case Hours Detail (Mar-23)
       Date               Day           Hours                   Category                                                       Activity

                                                      Due Diligence and Restructuring
      03/02/23         Thursday           4.0                                             Internal analysis on exchange platforms
                                                                 Strategy

                                                      Due Diligence and Restructuring
      03/08/23      Wednesday             4.0                                             Internal analysis on exchange platforms
                                                                 Strategy

                                                      Due Diligence and Restructuring
      03/15/23      Wednesday             0.5                                             Internal analysis on exchange platforms
                                                                 Strategy

                                                      Due Diligence and Restructuring
      03/16/23      Thursday              1.0                                             Internal analysis on exchange platforms
                                                                 Strategy

                                                      Due Diligence and Restructuring
      03/22/23      Wednesday             1.0                                             Internal analysis on exchange platforms
                                                                 Strategy

                                                      Due Diligence and Restructuring
      03/28/23      Tuesday               2.0                                             Internal analysis on exchange platforms
                                                                 Strategy

                                                      Due Diligence and Restructuring
      03/29/23      Wednesday             1.0                                             Internal analysis on exchange platforms
                                                                 Strategy
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Nathaniel Nussbaum (Executive Director)                                                                                                      Strictly Private & Confidential




          Nathaniel Nussbaum (Executive Director) - Case Hours Summary (Mar-23)
Categories                                                                         Hours
Correspondence with Debtor Advisors and Principals                                   8.5
Correspondence with Creditors, UCC, and Advisors                                     6.5
Correspondence with Third-Parties                                                   10.5
Due Diligence and Restructuring Strategy                                             -
Sale Process Matters                                                                25.0
Financing Matters                                                                    -
Court Hearings                                                                       -
Other Administrative Processes and Analysis                                          -
Total                                                                               50.5

                                                                     Case Hours Detail (Mar-23)
       Date                  Day          Hours                   Category                                                      Activity

                                                     Correspondence with Debtor Advisors
      03/01/23         Wednesday           0.5                                           Subsidiary company Dilligence Session
                                                               and Principals

                                                     Correspondence with Debtor Advisors
      03/01/23      Wednesday              0.5                                           LedgerX Internal Discussion with S&C
                                                               and Principals

                                                     Correspondence with Debtor Advisors Internal discussion with FTX EU Management and S&C on M&A process, legal
      03/01/23      Wednesday              0.5
                                                               and Principals            updates, and data gathering

                                                     Correspondence with Debtor Advisors
      03/01/23      Wednesday              0.5                                           Internal check in with Embed management on diligence requests & process
                                                               and Principals

                                                     Correspondence with Creditors, UCC,
      03/01/23      Wednesday              0.5                                           Discussion with UCC on LedgerX process & bids evaluation
                                                               and Advisors


      03/02/23      Thursday               1.5        Correspondence with Third-Parties    Check-in with Embed bidder


      03/02/23      Thursday               1.5        Correspondence with Third-Parties    Embed phase II diligence management meetings with bidders


                                                     Correspondence with Creditors, UCC,
      03/03/23      Friday                 1.0                                           Weekly process check in with UCC advisor Jeffries
                                                               and Advisors


      03/03/23      Friday                 0.5        Correspondence with Third-Parties    Check-in with Embed bidder


      03/03/23      Friday                 2.0              Sale Process Matters           Internal Discussions on LedgerX proceedings
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Nathaniel Nussbaum (Executive Director)                                                                                                  Strictly Private & Confidential




      03/05/23      Sunday                5.0           Sale Process Matters          Embed Future Cost Anlaysis


      03/06/23      Monday                1.0     Correspondence with Third-Parties   FTX Japan Phase I diligence management meetings with bidders


                                                 Correspondence with Creditors, UCC,
      03/06/23      Monday                0.5                                        Check-in with UCC Advisor on LedgerX Sale Process
                                                           and Advisors


      03/06/23      Monday                1.0     Correspondence with Third-Parties   Embed phase II diligence management meetings with bidders


      03/06/23      Monday                0.5     Correspondence with Third-Parties   Check-in with Embed bidder


      03/07/23      Tuesday               0.5     Correspondence with Third-Parties   Check-in with Embed bidder


      03/08/23      Wednesday             3.0           Sale Process Matters          Finalizing Embed Phase II Process Overview Materials


      03/08/23      Wednesday             1.0     Correspondence with Third-Parties   Embed phase II diligence management meetings with bidders


                                                 Correspondence with Debtor Advisors Internal discussion with FTX EU Management and S&C on M&A process, legal
      03/08/23      Wednesday             0.5
                                                           and Principals            updates, and data gathering

                                                 Correspondence with Debtor Advisors
      03/08/23      Wednesday             0.5                                        Internal check in with Embed management on bid process + diligence items
                                                           and Principals

                                                 Correspondence with Creditors, UCC,
      03/09/23      Thursday              1.0                                        Weekly process check in with UCC advisor Jeffries
                                                           and Advisors

                                                 Correspondence with Debtor Advisors Internal discussion with FTX EU Management and S&C on M&A process, legal
      03/09/23      Thursday              0.5
                                                           and Principals            updates, and data gathering

                                                 Correspondence with Debtor Advisors
      03/09/23      Thursday              1.0                                        FTX Japan internal discussion
                                                           and Principals


      03/09/23      Thursday              1.0           Sale Process Matters          Internal Discussions on LedgerX proceedings
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Nathaniel Nussbaum (Executive Director)                                                                                                  Strictly Private & Confidential




      03/10/23      Friday                2.5           Sale Process Matters          Internal LedgerX Valuation Discussion


                                                 Correspondence with Debtor Advisors
      03/10/23      Friday                0.5                                        Internal Discussion with LedgerX and S&C
                                                           and Principals


      03/10/23      Friday                1.0           Sale Process Matters          Embed Bid Preparation & Strategy


      03/12/23      Sunday                2.0           Sale Process Matters          Finalizing Embed Phase II Process Overview Materials


      03/13/23      Monday                0.5           Sale Process Matters          Bi-weekly M&A team check-in on sale process


      03/14/23      Tuesday               0.5           Sale Process Matters          Bi-weekly M&A team check-in on sale process


                                                 Correspondence with Debtor Advisors
      03/14/23      Tuesday               0.5                                        Internal Subsidiary company Diligence Session with A&M
                                                           and Principals


      03/15/23      Wednesday             2.0           Sale Process Matters          Finalizing Embed Bid Analysis Presentation


      03/15/23      Wednesday             0.5           Sale Process Matters          Bi-weekly M&A team check-in on sale process


                                                 Correspondence with Creditors, UCC,
      03/15/23      Wednesday             1.0                                        Weekly process check in with UCC advisor Jeffries
                                                           and Advisors

                                                                                      M&A Team Internal catch-up on outreach and VDR / management presentation
      03/15/23      Wednesday             1.5           Sale Process Matters
                                                                                      materials discussion

                                                 Correspondence with Creditors, UCC,
      03/16/23      Thursday              0.5                                        Check-in with UCC Advisor on LedgerX + Embed Sale Process
                                                           and Advisors


      03/16/23      Thursday              0.5     Correspondence with Third-Parties   Check-in with Embed bidder


      03/16/23      Thursday              1.0           Sale Process Matters          Internal Discussions on LedgerX proceedings
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Nathaniel Nussbaum (Executive Director)                                                                                                  Strictly Private & Confidential




      03/17/23      Friday                0.5     Correspondence with Third-Parties   Diligence discussion with LedgerX bidder & S&C


      03/21/23      Tuesday               0.5           Sale Process Matters          LedgerX NWC Analysis


                                                 Correspondence with Debtor Advisors
      03/22/23      Wednesday             0.5                                        Internal catch-up with S&C on LedgerX and Embed sale process / bid discussion
                                                           and Principals

                                                 Correspondence with Debtor Advisors
      03/22/23      Wednesday             0.5                                        Catch-up call with Embed management to discuss sale process next steps
                                                           and Principals

                                                 Correspondence with Creditors, UCC,
      03/23/23      Thursday              1.0                                        Weekly process check in with UCC advisor Jeffries
                                                           and Advisors


      03/24/23      Friday                1.0           Sale Process Matters          Internal Discussions on LedgerX proceedings


      03/28/23      Tuesday               1.0     Correspondence with Third-Parties   Conversation with potential Embed bidder


                                                 Correspondence with Debtor Advisors
      03/28/23      Tuesday               0.5                                        Catch-up call with Embed management to discuss sale process next steps
                                                           and Principals

                                                 Correspondence with Debtor Advisors Internal discussion with FTX EU Management and S&C on M&A process, legal
      03/29/23      Wednesday             0.5
                                                           and Principals            updates, and data gathering


      03/29/23      Wednesday             1.0     Correspondence with Third-Parties   Conversation with potential Embed bidder


                                                 Correspondence with Debtor Advisors
      03/29/23      Wednesday             1.0                                        Conversation with Embed CTO on sale process
                                                           and Principals

                                                 Correspondence with Creditors, UCC,
      03/30/23      Thursday              1.0                                        Weekly process check in with UCC advisor
                                                           and Advisors


      03/31/23      Friday                1.0           Sale Process Matters          LedgerX NWC Analysis
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Geoff Posess (Director)                                                                                                                       Strictly Private & Confidential




                   Geoff Posess (Director) - Case Hours Summary (Mar-23)
Categories                                                                          Hours
Correspondence with Debtor Advisors and Principals                                    8.5
Correspondence with Creditors, UCC, and Advisors                                      6.5
Correspondence with Third-Parties                                                    10.5
Due Diligence and Restructuring Strategy                                              -
Sale Process Matters                                                                 29.5
Financing Matters                                                                     -
Court Hearings                                                                        -
Other Administrative Processes and Analysis                                           -
Total                                                                                55.0

                                                                      Case Hours Detail (Mar-23)
        Date                  Day         Hours                    Category                                                      Activity

                                                      Correspondence with Debtor Advisors
      03/01/23            Wednesday        0.5                                            Subsidiary company Dilligence Session
                                                                and Principals

                                                      Correspondence with Debtor Advisors
      03/01/23       Wednesday             0.5                                            LedgerX Internal Discussion with S&C
                                                                and Principals

                                                      Correspondence with Debtor Advisors Internal discussion with FTX EU Management and S&C on M&A process, legal
      03/01/23       Wednesday             0.5
                                                                and Principals            updates, and data gathering

                                                      Correspondence with Debtor Advisors
      03/01/23       Wednesday             0.5                                            Internal check in with Embed management on diligence requests & process
                                                                and Principals

                                                      Correspondence with Creditors, UCC,
      03/01/23       Wednesday             0.5                                            Discussion with UCC on LedgerX process & bids evaluation
                                                                and Advisors


      03/02/23       Thursday              1.5         Correspondence with Third-Parties    Check-in with Embed bidder


      03/02/23       Thursday              1.5         Correspondence with Third-Parties    Embed phase II diligence management meetings with bidders


      03/02/23       Thursday              4.0               Sale Process Matters           LedgerX Board Slides Creation


                                                      Correspondence with Creditors, UCC,
      03/03/23       Friday                1.0                                            Weekly process check in with UCC advisor Jeffries
                                                                and Advisors


      03/03/23       Friday                0.5         Correspondence with Third-Parties    Check-in with Embed bidder
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Geoff Posess (Director)                                                                                                         Strictly Private & Confidential




      03/05/23       Sunday      5.0           Sale Process Matters          Embed Future Cost Anlaysis


      03/06/23       Monday      1.0     Correspondence with Third-Parties   FTX Japan Phase I diligence management meetings with bidders


                                        Correspondence with Creditors, UCC,
      03/06/23       Monday      0.5                                        Check-in with UCC Advisor on LedgerX Sale Process
                                                  and Advisors


      03/06/23       Monday      1.0     Correspondence with Third-Parties   Embed phase II diligence management meetings with bidders


      03/06/23       Monday      0.5     Correspondence with Third-Parties   Check-in with Embed bidder


      03/07/23       Tuesday     0.5     Correspondence with Third-Parties   Check-in with Embed bidder


      03/08/23       Wednesday   4.0           Sale Process Matters          LedgerX Board Slides Creation


      03/08/23       Wednesday   3.0           Sale Process Matters          Finalizing Embed Phase II Process Overview Materials


      03/08/23       Wednesday   1.0     Correspondence with Third-Parties   Embed phase II diligence management meetings with bidders


                                        Correspondence with Debtor Advisors Internal discussion with FTX EU Management and S&C on M&A process, legal
      03/08/23       Wednesday   0.5
                                                  and Principals            updates, and data gathering

                                        Correspondence with Debtor Advisors
      03/08/23       Wednesday   0.5                                        Internal check in with Embed management on bid process + diligence items
                                                  and Principals

                                        Correspondence with Creditors, UCC,
      03/09/23       Thursday    1.0                                        Weekly process check in with UCC advisor Jeffries
                                                  and Advisors

                                        Correspondence with Debtor Advisors Internal discussion with FTX EU Management and S&C on M&A process, legal
      03/09/23       Thursday    0.5
                                                  and Principals            updates, and data gathering

                                        Correspondence with Debtor Advisors
      03/09/23       Thursday    1.0                                        FTX Japan internal discussion
                                                  and Principals
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Geoff Posess (Director)                                                                                                         Strictly Private & Confidential



                                        Correspondence with Debtor Advisors
      03/10/23       Friday      0.5                                        Internal Discussion with LedgerX and S&C
                                                  and Principals


      03/10/23       Friday      1.0           Sale Process Matters          Embed Bid Preparation & Strategy


      03/12/23       Sunday      4.0           Sale Process Matters          LedgerX Board Slides Creation


      03/12/23       Sunday      2.0           Sale Process Matters          Finalizing Embed Phase II Process Overview Materials


      03/13/23       Monday      0.5           Sale Process Matters          Bi-weekly M&A team check-in on sale process


      03/14/23       Tuesday     0.5           Sale Process Matters          Bi-weekly M&A team check-in on sale process


                                        Correspondence with Debtor Advisors
      03/14/23       Tuesday     0.5                                        Internal Subsidiary company Diligence Session with A&M
                                                  and Principals


      03/15/23       Wednesday   2.0           Sale Process Matters          Finalizing Embed Bid Analysis Presentation


      03/15/23       Wednesday   0.5           Sale Process Matters          Bi-weekly M&A team check-in on sale process


                                        Correspondence with Creditors, UCC,
      03/15/23       Wednesday   1.0                                        Weekly process check in with UCC advisor Jeffries
                                                  and Advisors

                                                                             M&A Team Internal catch-up on outreach and VDR / management presentation
      03/15/23       Wednesday   1.5           Sale Process Matters
                                                                             materials discussion

                                        Correspondence with Creditors, UCC,
      03/16/23       Thursday    0.5                                        Check-in with UCC Advisor on LedgerX + Embed Sale Process
                                                  and Advisors


      03/16/23       Thursday    0.5     Correspondence with Third-Parties   Check-in with Embed bidder


      03/17/23       Friday      0.5     Correspondence with Third-Parties   Diligence discussion with LedgerX bidder & S&C
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Geoff Posess (Director)                                                                                                         Strictly Private & Confidential




      03/21/23       Tuesday     0.5           Sale Process Matters          LedgerX NWC Analysis


                                        Correspondence with Debtor Advisors
      03/22/23       Wednesday   0.5                                        Internal catch-up with S&C on LedgerX and Embed sale process / bid discussion
                                                  and Principals

                                        Correspondence with Debtor Advisors
      03/22/23       Wednesday   0.5                                        Catch-up call with Embed management to discuss sale process next steps
                                                  and Principals

                                        Correspondence with Creditors, UCC,
      03/23/23       Thursday    1.0                                        Weekly process check in with UCC advisor Jeffries
                                                  and Advisors


      03/28/23       Tuesday     1.0     Correspondence with Third-Parties   Conversation with potential Embed bidder


                                        Correspondence with Debtor Advisors
      03/28/23       Tuesday     0.5                                        Catch-up call with Embed management to discuss sale process next steps
                                                  and Principals

                                        Correspondence with Debtor Advisors Internal discussion with FTX EU Management and S&C on M&A process, legal
      03/29/23       Wednesday   0.5
                                                  and Principals            updates, and data gathering


      03/29/23       Wednesday   1.0     Correspondence with Third-Parties   Conversation with potential Embed bidder


                                        Correspondence with Debtor Advisors
      03/29/23       Wednesday   1.0                                        Conversation with Embed CTO on sale process
                                                  and Principals

                                        Correspondence with Creditors, UCC,
      03/30/23       Thursday    1.0                                        Weekly process check in with UCC advisor
                                                  and Advisors


      03/31/23       Friday      1.0           Sale Process Matters          LedgerX NWC Analysis
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Wasif Syed (Director)                                                                                                                                 Strictly Private & Confidential




                     Wasif Syed (Director) - Case Hours Summary (Mar-23)
Categories                                                                            Hours
Correspondence with Debtor Advisors and Principals                                     11.0
Correspondence with Creditors, UCC, and Advisors                                        3.0
Correspondence with Third-Parties                                                      25.0
Due Diligence and Restructuring Strategy                                               24.0
Sale Process Matters                                                                   48.0
Financing Matters                                                                       -
Court Hearings                                                                          -
Other Administrative Processes and Analysis                                             -
Total                                                                                 111.0

                                                                       Case Hours Detail (Mar-23)
        Date                     Day      Hours                     Category                                                           Activity

      03/01/23            Wednesday         1.5         Correspondence with Third-Parties     3 calls with third parties interested in venture sale processes


                                                         Due Diligence and Restructuring
      03/01/23          Wednesday           0.5                                               Diligence session regarding subsidiary
                                                                    Strategy

                                                       Correspondence with Debtor Advisors
      03/01/23          Wednesday           0.5                                            Venture investment planning with S&C
                                                                 and Principals

                                                         Due Diligence and Restructuring
      03/01/23          Wednesday           5.0                                               Preparation of venture board materials
                                                                    Strategy


      03/02/23          Thursday            1.0               Sale Process Matters            Call with third party interested in fund sale process


      03/02/23          Thursday            2.0         Correspondence with Third-Parties     4 calls with third parties interested in venture sale processes


                                                       Correspondence with Creditors, UCC,
      03/02/23          Thursday            0.5                                            Session with UCC advisors regarding fund asset in portfolio
                                                                 and Advisors


      03/03/23          Friday              2.0         Correspondence with Third-Parties     4 calls with third parties interested in venture sale processes


                                                         Due Diligence and Restructuring
      03/03/23          Friday              0.5                                               Update call with portfolio company
                                                                    Strategy


      03/03/23          Friday              5.0               Sale Process Matters            Due diligence and outreach requests related to portfolio company sale process
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Wasif Syed (Director)                                                                                                                   Strictly Private & Confidential




      03/03/23          Friday      4.0           Sale Process Matters          Fund investments summary


      03/06/23          Monday      0.5     Correspondence with Third-Parties   1 call with third parties interested in venture sale processes


      03/06/23          Monday      5.0           Sale Process Matters          Due diligence and outreach requests related to portfolio company sale process


                                           Correspondence with Debtor Advisors
      03/06/23          Monday      1.0                                        Ventures board meeting
                                                     and Principals


      03/06/23          Monday      1.0     Correspondence with Third-Parties   2 calls with third parties interested in venture sale processes


      03/06/23          Monday      0.5           Sale Process Matters          Call with third party interested in fund sale process


      03/07/23          Tuesday     1.0           Sale Process Matters          Call to finalize PSA documentation for sale of fund


                                           Correspondence with Debtor Advisors
      03/07/23          Tuesday     1.0                                        PMO Meeting with Debtors' advisors John Ray, S&C, A&M
                                                     and Principals


      03/07/23          Tuesday     0.5           Sale Process Matters          Call with third party interested in fund sale process


      03/07/23          Tuesday     0.5     Correspondence with Third-Parties   1 call with third parties interested in venture sale processes


      03/08/23          Wednesday   0.5     Correspondence with Third-Parties   2 calls with third parties interested in venture sale processes


                                             Due Diligence and Restructuring
      03/08/23          Wednesday   0.5                                         Update call with portfolio company
                                                        Strategy

                                           Correspondence with Debtor Advisors
      03/08/23          Wednesday   0.5                                        Venture investment planning with S&C
                                                     and Principals

                                             Due Diligence and Restructuring
      03/08/23          Wednesday   5.0                                         Preparation of venture board materials
                                                        Strategy
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Wasif Syed (Director)                                                                                                                  Strictly Private & Confidential




      03/09/23          Thursday   5.0           Sale Process Matters          Fund investments summary


                                          Correspondence with Debtor Advisors
      03/09/23          Thursday   1.0                                        Ventures board meeting
                                                    and Principals


      03/09/23          Thursday   0.5     Correspondence with Third-Parties   1 call with third parties interested in venture sale processes


                                          Correspondence with Debtor Advisors
      03/09/23          Thursday   1.0                                        Review of SOFA schedule with A&M
                                                    and Principals

                                            Due Diligence and Restructuring
      03/09/23          Thursday   0.5                                         Internal workstreams catchup call
                                                       Strategy


      03/10/23          Friday     0.5     Correspondence with Third-Parties   1 call with third parties interested in venture sale processes


      03/10/23          Friday     5.0           Sale Process Matters          Due diligence and outreach requests related to portfolio company sale process


      03/13/23          Monday     0.5     Correspondence with Third-Parties   1 call with third parties interested in venture sale processes


                                            Due Diligence and Restructuring
      03/13/23          Monday     0.5                                         Update call with portfolio company
                                                       Strategy


      03/13/23          Monday     2.0           Sale Process Matters          Due diligence and outreach requests related to portfolio company sale process


                                            Due Diligence and Restructuring
      03/14/23          Tuesday    0.5                                         Diligence session regarding subsidiary
                                                       Strategy

                                          Correspondence with Debtor Advisors
      03/14/23          Tuesday    1.0                                        PMO Meeting with Debtors' advisors John Ray, S&C, A&M
                                                    and Principals

                                          Correspondence with Creditors, UCC,
      03/14/23          Tuesday    0.5                                        Discussion with UCC advisors on fund sale process
                                                    and Advisors


      03/14/23          Tuesday    1.0     Correspondence with Third-Parties   2 calls with third parties interested in venture sale processes
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Wasif Syed (Director)                                                                                                                   Strictly Private & Confidential



                                             Due Diligence and Restructuring
      03/14/23          Tuesday     1.0                                         Update call with portfolio company
                                                        Strategy

                                           Correspondence with Debtor Advisors
      03/15/23          Wednesday   0.5                                        Venture investment planning with S&C
                                                     and Principals

                                           Correspondence with Creditors, UCC,
      03/15/23          Wednesday   1.0                                        Process updates with UCC advisors
                                                     and Advisors


      03/15/23          Wednesday   1.0     Correspondence with Third-Parties   2 calls with third parties interested in venture sale processes


                                             Due Diligence and Restructuring
      03/15/23          Wednesday   2.0                                         Preparation of venture board materials
                                                        Strategy


      03/16/23          Thursday    0.5     Correspondence with Third-Parties   1 call with third parties interested in venture sale processes


                                             Due Diligence and Restructuring
      03/16/23          Thursday    1.5                                         Update call with portfolio companies
                                                        Strategy

                                           Correspondence with Debtor Advisors
      03/16/23          Thursday    0.5                                        Venture investment planning with S&C
                                                     and Principals


      03/17/23          Friday      2.5     Correspondence with Third-Parties   5 calls with third parties interested in venture sale processes


      03/17/23          Friday      5.0           Sale Process Matters          Due diligence and outreach requests related to portfolio company sale process


      03/17/23          Friday      2.0           Sale Process Matters          Fund investments summary


                                             Due Diligence and Restructuring
      03/20/23          Monday      0.5                                         Internal discussion on portfolio company
                                                        Strategy


      03/20/23          Monday      2.0     Correspondence with Third-Parties   4 calls with third parties interested in venture sale processes


                                             Due Diligence and Restructuring
      03/20/23          Monday      1.0                                         Internal coordination for fund sale process
                                                        Strategy
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Wasif Syed (Director)                                                                                                                   Strictly Private & Confidential



                                           Correspondence with Debtor Advisors
      03/21/23          Tuesday     1.0                                        PMO Meeting with Debtors' advisors John Ray, S&C, A&M
                                                     and Principals


      03/21/23          Tuesday     0.5     Correspondence with Third-Parties   1 call with third parties interested in venture sale processes


      03/21/23          Tuesday     4.0           Sale Process Matters          Due diligence and outreach requests related to portfolio company sale process


      03/21/23          Tuesday     2.0           Sale Process Matters          Fund investments summary


                                             Due Diligence and Restructuring
      03/21/23          Tuesday     3.0                                         Preparation of venture board materials
                                                        Strategy


      03/22/23          Wednesday   0.5     Correspondence with Third-Parties   1 call with third parties interested in venture sale processes


                                           Correspondence with Debtor Advisors
      03/22/23          Wednesday   0.5                                        Venture investment planning with S&C
                                                     and Principals


      03/23/23          Thursday    1.0           Sale Process Matters          Due diligence and outreach requests related to portfolio company sale process


                                           Correspondence with Debtor Advisors
      03/23/23          Thursday    1.0                                        Ventures board meeting
                                                     and Principals

                                           Correspondence with Creditors, UCC,
      03/23/23          Thursday    0.5                                        Process update with UCC advisors
                                                     and Advisors

                                           Correspondence with Creditors, UCC,
      03/23/23          Thursday    0.5                                        Discussion with UCC advisors on token status
                                                     and Advisors


      03/24/23          Friday      2.5     Correspondence with Third-Parties   5 calls with third parties interested in venture sale processes


      03/24/23          Friday      4.0           Sale Process Matters          Due diligence and outreach requests related to portfolio company sale process


      03/27/23          Monday      1.5     Correspondence with Third-Parties   3 calls with third parties interested in venture sale processes
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Wasif Syed (Director)                                                                                                                   Strictly Private & Confidential



                                             Due Diligence and Restructuring
      03/27/23          Monday      2.0                                         Fund investments summary
                                                        Strategy


      03/28/23          Tuesday     1.0     Correspondence with Third-Parties   2 calls with third parties interested in venture sale processes


                                           Correspondence with Debtor Advisors
      03/28/23          Tuesday     1.0                                        PMO Meeting with Debtors' advisors John Ray, S&C, A&M
                                                     and Principals

                                           Correspondence with Debtor Advisors
      03/29/23          Wednesday   0.5                                        Venture investment planning with S&C
                                                     and Principals


      03/29/23          Wednesday   0.5     Correspondence with Third-Parties   1 call with third parties interested in venture sale processes


      03/30/23          Thursday    0.5     Correspondence with Third-Parties   1 call with third parties interested in venture sale processes


      03/30/23          Thursday    1.0           Sale Process Matters          Due diligence and outreach requests related to portfolio company sale process


      03/31/23          Friday      1.5     Correspondence with Third-Parties   3 calls with third parties interested in venture sale processes
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Tejas Choudhary (Associate)                                                                                                                         Strictly Private & Confidential




                Tejas Choudhary (Associate) - Case Hours Summary (Mar-23)
Categories                                                                          Hours
Correspondence with Debtor Advisors and Principals                                    5.5
Correspondence with Creditors, UCC, and Advisors                                      0.5
Correspondence with Third-Parties                                                     -
Due Diligence and Restructuring Strategy                                             11.5
Sale Process Matters                                                                  0.5
Financing Matters                                                                     -
Court Hearings                                                                        -
Other Administrative Processes and Analysis                                           -
Total                                                                                18.0

                                                                     Case Hours Detail (Mar-23)
       Date               Day            Hours                    Category                                                           Activity

                                                       Due Diligence and Restructuring
      03/01/23         Wednesday          0.5                                               Diligence session regarding subsidiary
                                                                  Strategy

                                                     Correspondence with Debtor Advisors
      03/01/23      Wednesday             0.5                                            Venture investment planning with S&C
                                                               and Principals

                                                       Due Diligence and Restructuring
      03/01/23      Wednesday             5.0                                               Preparation of venture board materials
                                                                  Strategy

                                                     Correspondence with Creditors, UCC,
      03/02/23      Thursday              0.5                                            Session with UCC advisors regarding fund asset in portfolio
                                                               and Advisors

                                                     Correspondence with Debtor Advisors
      03/06/23      Monday                1.0                                            Ventures board meeting
                                                               and Principals


      03/06/23      Monday                0.5               Sale Process Matters            Call with third party interested in fund sale process


                                                     Correspondence with Debtor Advisors
      03/07/23      Tuesday               1.0                                            PMO Meeting with Debtors' advisors John Ray, S&C, A&M
                                                               and Principals

                                                       Due Diligence and Restructuring
      03/08/23      Wednesday             0.5                                               Update call with portfolio company
                                                                  Strategy

                                                     Correspondence with Debtor Advisors
      03/08/23      Wednesday             0.5                                            Venture investment planning with S&C
                                                               and Principals

                                                       Due Diligence and Restructuring
      03/08/23      Wednesday             5.0                                               Preparation of venture board materials
                                                                  Strategy
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Tejas Choudhary (Associate)                                                                                       Strictly Private & Confidential



                                       Correspondence with Debtor Advisors
      03/09/23      Thursday    1.0                                        Ventures board meeting
                                                 and Principals

                                         Due Diligence and Restructuring
      03/09/23      Thursday    0.5                                        Internal workstreams catchup call
                                                    Strategy

                                       Correspondence with Debtor Advisors
      03/15/23      Wednesday   0.5                                        Venture investment planning with S&C
                                                 and Principals

                                       Correspondence with Debtor Advisors
      03/22/23      Wednesday   0.5                                        Venture investment planning with S&C
                                                 and Principals

                                       Correspondence with Debtor Advisors
      03/29/23      Wednesday   0.5                                        Venture investment planning with S&C
                                                 and Principals
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Arjun Arora (Associate)                                                                                                                       Strictly Private & Confidential




                   Arjun Arora (Associate) - Case Hours Summary (Mar-23)
Categories                                                                          Hours
Correspondence with Debtor Advisors and Principals                                    5.5
Correspondence with Creditors, UCC, and Advisors                                      0.5
Correspondence with Third-Parties                                                     9.0
Due Diligence and Restructuring Strategy                                              -
Sale Process Matters                                                                 40.5
Financing Matters                                                                     -
Court Hearings                                                                        -
Other Administrative Processes and Analysis                                           -
Total                                                                                55.5

                                                                      Case Hours Detail (Mar-23)
        Date                  Day         Hours                    Category                                                     Activity

                                                      Correspondence with Debtor Advisors Internal discussion with FTX EU Management and S&C on M&A process, legal
      03/01/23            Wednesday        0.5
                                                                and Principals            updates, and data gathering

                                                      Correspondence with Debtor Advisors
      03/01/23       Wednesday             0.5                                            Internal check in with Embed management on diligence requests & process
                                                                and Principals


      03/02/23       Thursday              1.5         Correspondence with Third-Parties    Check-in with Embed bidder


      03/02/23       Thursday              1.5         Correspondence with Third-Parties    Embed phase II diligence management meetings with bidders


      03/03/23       Friday                0.5         Correspondence with Third-Parties    Check-in with Embed bidder


      03/05/23       Sunday                5.0               Sale Process Matters           Embed Future Cost Anlaysis


      03/06/23       Monday                1.0         Correspondence with Third-Parties    Embed phase II diligence management meetings with bidders


      03/06/23       Monday                0.5         Correspondence with Third-Parties    Check-in with Embed bidder


      03/07/23       Tuesday               0.5         Correspondence with Third-Parties    Check-in with Embed bidder


      03/08/23       Wednesday             3.0               Sale Process Matters           Finalizing Embed Phase II Process Overview Materials
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Arjun Arora (Associate)                                                                                                            Strictly Private & Confidential




      03/08/23       Wednesday   1.0     Correspondence with Third-Parties   Embed phase II diligence management meetings with bidders


                                        Correspondence with Debtor Advisors Internal discussion with FTX EU Management and S&C on M&A process, legal
      03/08/23       Wednesday   0.5
                                                  and Principals            updates, and data gathering

                                        Correspondence with Debtor Advisors
      03/08/23       Wednesday   0.5                                        Internal check in with Embed management on bid process + diligence items
                                                  and Principals

                                        Correspondence with Debtor Advisors Internal discussion with FTX EU Management and S&C on M&A process, legal
      03/09/23       Thursday    0.5
                                                  and Principals            updates, and data gathering


      03/09/23       Thursday    6.0           Sale Process Matters          Finalizing Embed Phase II Process Overview Materials


      03/10/23       Friday      1.0           Sale Process Matters          Embed Bid Preparation & Strategy


      03/11/23       Saturday    1.5           Sale Process Matters          Embed Internal Financial Analysis & Model Diligence


      03/12/23       Sunday      2.0           Sale Process Matters          Finalizing Embed Phase II Process Overview Materials


      03/13/23       Monday      0.5           Sale Process Matters          Bi-weekly M&A team check-in on sale process


      03/14/23       Tuesday     0.5           Sale Process Matters          Bi-weekly M&A team check-in on sale process


      03/14/23       Tuesday     5.0           Sale Process Matters          Embed Bid Analysis Presentation


      03/15/23       Wednesday   2.0           Sale Process Matters          Finalizing Embed Bid Analysis Presentation


      03/15/23       Wednesday   0.5           Sale Process Matters          Bi-weekly M&A team check-in on sale process


                                                                             M&A Team Internal catch-up on outreach and VDR / management presentation
      03/15/23       Wednesday   1.5           Sale Process Matters
                                                                             materials discussion
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Arjun Arora (Associate)                                                                                                          Strictly Private & Confidential



                                        Correspondence with Creditors, UCC,
      03/16/23       Thursday    0.5                                        Check-in with UCC Advisor on LedgerX + Embed Sale Process
                                                  and Advisors


      03/16/23       Thursday    0.5     Correspondence with Third-Parties   Check-in with Embed bidder


      03/16/23       Thursday    5.0           Sale Process Matters          Creation of UCC Embed Sale Process Update Presentation


                                        Correspondence with Debtor Advisors
      03/22/23       Wednesday   0.5                                        Internal catch-up with S&C on LedgerX and Embed sale process / bid discussion
                                                  and Principals

                                        Correspondence with Debtor Advisors
      03/22/23       Wednesday   0.5                                        Catch-up call with Embed management to discuss sale process next steps
                                                  and Principals


      03/28/23       Tuesday     1.0     Correspondence with Third-Parties   Conversation with potential Embed bidder


                                        Correspondence with Debtor Advisors
      03/28/23       Tuesday     0.5                                        Catch-up call with Embed management to discuss sale process next steps
                                                  and Principals

                                        Correspondence with Debtor Advisors Internal discussion with FTX EU Management and S&C on M&A process, legal
      03/29/23       Wednesday   0.5
                                                  and Principals            updates, and data gathering


      03/29/23       Wednesday   1.0     Correspondence with Third-Parties   Conversation with potential Embed bidder


                                        Correspondence with Debtor Advisors
      03/29/23       Wednesday   1.0                                        Conversation with Embed CTO on sale process
                                                  and Principals


      03/30/23       Thursday    7.0           Sale Process Matters          Embed sale alternatives materials creation & discussion
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Jenny Zhu (Analyst)                                                                                                                           Strictly Private & Confidential




                     Jenny Zhu (Analyst) - Case Hours Summary (Mar-23)
Categories                                                                          Hours
Correspondence with Debtor Advisors and Principals                                    1.0
Correspondence with Creditors, UCC, and Advisors                                      6.0
Correspondence with Third-Parties                                                     -
Due Diligence and Restructuring Strategy                                              -
Sale Process Matters                                                                  4.0
Financing Matters                                                                     -
Court Hearings                                                                        -
Other Administrative Processes and Analysis                                           -
Total                                                                                11.0

                                                                      Case Hours Detail (Mar-23)
        Date                   Day        Hours                    Category                                                    Activity

                                                      Correspondence with Creditors, UCC,
      03/03/23             Friday          1.0                                            Weekly process check in with UCC advisor Jeffries
                                                                and Advisors

                                                      Correspondence with Creditors, UCC,
      03/06/23        Monday               0.5                                            Check-in with UCC Advisor on LedgerX Sale Process
                                                                and Advisors

                                                      Correspondence with Creditors, UCC,
      03/09/23        Thursday             1.0                                            Weekly process check in with UCC advisor Jeffries
                                                                and Advisors


      03/10/23        Friday               1.0               Sale Process Matters           Embed Bid Preparation & Strategy


      03/13/23        Monday               0.5               Sale Process Matters           Bi-weekly M&A team check-in on sale process


      03/14/23        Tuesday              0.5               Sale Process Matters           Bi-weekly M&A team check-in on sale process


                                                      Correspondence with Debtor Advisors
      03/14/23        Tuesday              0.5                                            Internal Subsidiary company Diligence Session with A&M
                                                                and Principals


      03/15/23        Wednesday            0.5               Sale Process Matters           Bi-weekly M&A team check-in on sale process


                                                      Correspondence with Creditors, UCC,
      03/15/23        Wednesday            1.0                                            Weekly process check in with UCC advisor Jeffries
                                                                and Advisors

                                                                                            M&A Team Internal catch-up on outreach and VDR / management presentation
      03/15/23        Wednesday            1.5               Sale Process Matters
                                                                                            materials discussion
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Jenny Zhu (Analyst)                                                                                                              Strictly Private & Confidential



                                         Correspondence with Creditors, UCC,
      03/16/23        Thursday    0.5                                        Check-in with UCC Advisor on LedgerX + Embed Sale Process
                                                   and Advisors

                                         Correspondence with Debtor Advisors
      03/22/23        Wednesday   0.5                                        Internal catch-up with S&C on LedgerX and Embed sale process / bid discussion
                                                   and Principals

                                         Correspondence with Creditors, UCC,
      03/23/23        Thursday    1.0                                        Weekly process check in with UCC advisor Jeffries
                                                   and Advisors

                                         Correspondence with Creditors, UCC,
      03/30/23        Thursday    1.0                                        Weekly process check in with UCC advisor
                                                   and Advisors
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Rohan Sindhwani (Analyst)                                                                                                                    Strictly Private & Confidential




                 Rohan Sindhwani (Analyst) - Case Hours Summary (Mar-23)
Categories                                                                         Hours
Correspondence with Debtor Advisors and Principals                                   5.5
Correspondence with Creditors, UCC, and Advisors                                     1.0
Correspondence with Third-Parties                                                    9.0
Due Diligence and Restructuring Strategy                                             -
Sale Process Matters                                                                49.0
Financing Matters                                                                    -
Court Hearings                                                                       -
Other Administrative Processes and Analysis                                          -
Total                                                                               64.5

                                                                     Case Hours Detail (Mar-23)
       Date                  Day         Hours                    Category                                                    Activity

                                                     Correspondence with Debtor Advisors Internal discussion with FTX EU Management and S&C on M&A process, legal
      03/01/23         Wednesday          0.5
                                                               and Principals            updates, and data gathering

                                                     Correspondence with Debtor Advisors
      03/01/23      Wednesday             0.5                                            Internal check in with Embed management on diligence requests & process
                                                               and Principals


      03/02/23      Thursday              1.5         Correspondence with Third-Parties    Check-in with Embed bidder


      03/02/23      Thursday              1.5         Correspondence with Third-Parties    Embed phase II diligence management meetings with bidders


                                                                                           General M&A Process tracking (NDAs, VDR legal discussion, management
      03/02/23      Thursday              1.0               Sale Process Matters
                                                                                           meetings, DD Tracking)


      03/03/23      Friday                0.5         Correspondence with Third-Parties    Check-in with Embed bidder


                                                                                           General M&A Process tracking (NDAs, VDR legal discussion, management
      03/03/23      Friday                2.5               Sale Process Matters
                                                                                           meetings, DD Tracking)


      03/05/23      Sunday                5.0               Sale Process Matters           Embed Future Cost Anlaysis


                                                     Correspondence with Creditors, UCC,
      03/06/23      Monday                0.5                                            Check-in with UCC Advisor on LedgerX Sale Process
                                                               and Advisors


      03/06/23      Monday                1.0         Correspondence with Third-Parties    Embed phase II diligence management meetings with bidders
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      03/06/23      Monday      0.5     Correspondence with Third-Parties   Check-in with Embed bidder


                                                                            General M&A Process tracking (NDAs, VDR legal discussion, management
      03/06/23      Monday      2.0           Sale Process Matters
                                                                            meetings, DD Tracking)


      03/07/23      Tuesday     0.5     Correspondence with Third-Parties   Check-in with Embed bidder


                                                                            General M&A Process tracking (NDAs, VDR legal discussion, management
      03/07/23      Tuesday     0.5           Sale Process Matters
                                                                            meetings, DD Tracking)


      03/08/23      Wednesday   3.0           Sale Process Matters          Finalizing Embed Phase II Process Overview Materials


      03/08/23      Wednesday   1.0     Correspondence with Third-Parties   Embed phase II diligence management meetings with bidders


                                       Correspondence with Debtor Advisors Internal discussion with FTX EU Management and S&C on M&A process, legal
      03/08/23      Wednesday   0.5
                                                 and Principals            updates, and data gathering

                                       Correspondence with Debtor Advisors
      03/08/23      Wednesday   0.5                                        Internal check in with Embed management on bid process + diligence items
                                                 and Principals

                                       Correspondence with Debtor Advisors Internal discussion with FTX EU Management and S&C on M&A process, legal
      03/09/23      Thursday    0.5
                                                 and Principals            updates, and data gathering

                                                                            General M&A Process tracking (NDAs, VDR legal discussion, management
      03/09/23      Thursday    1.0           Sale Process Matters
                                                                            meetings, DD Tracking)


      03/09/23      Thursday    6.0           Sale Process Matters          Finalizing Embed Phase II Process Overview Materials


      03/10/23      Friday      1.0           Sale Process Matters          Embed Bid Preparation & Strategy


      03/11/23      Saturday    1.5           Sale Process Matters          Embed Internal Financial Analysis & Model Diligence


      03/12/23      Sunday      2.0           Sale Process Matters          Finalizing Embed Phase II Process Overview Materials
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Rohan Sindhwani (Analyst)                                                                                                     Strictly Private & Confidential




      03/13/23      Monday      0.5           Sale Process Matters          Bi-weekly M&A team check-in on sale process


      03/14/23      Tuesday     0.5           Sale Process Matters          Bi-weekly M&A team check-in on sale process


      03/14/23      Tuesday     5.0           Sale Process Matters          Embed Bid Analysis Presentation


      03/15/23      Wednesday   2.0           Sale Process Matters          Finalizing Embed Bid Analysis Presentation


      03/15/23      Wednesday   0.5           Sale Process Matters          Bi-weekly M&A team check-in on sale process


                                                                            M&A Team Internal catch-up on outreach and VDR / management presentation
      03/15/23      Wednesday   1.5           Sale Process Matters
                                                                            materials discussion

                                       Correspondence with Creditors, UCC,
      03/16/23      Thursday    0.5                                        Check-in with UCC Advisor on LedgerX + Embed Sale Process
                                                 and Advisors


      03/16/23      Thursday    0.5     Correspondence with Third-Parties   Check-in with Embed bidder


      03/16/23      Thursday    5.0           Sale Process Matters          Creation of UCC Embed Sale Process Update Presentation


                                       Correspondence with Debtor Advisors
      03/22/23      Wednesday   0.5                                        Internal catch-up with S&C on LedgerX and Embed sale process / bid discussion
                                                 and Principals

                                       Correspondence with Debtor Advisors
      03/22/23      Wednesday   0.5                                        Catch-up call with Embed management to discuss sale process next steps
                                                 and Principals

                                                                            General M&A Process tracking (NDAs, VDR legal discussion, management
      03/27/23      Monday      1.0           Sale Process Matters
                                                                            meetings, DD Tracking)


      03/28/23      Tuesday     1.0     Correspondence with Third-Parties   Conversation with potential Embed bidder


                                       Correspondence with Debtor Advisors
      03/28/23      Tuesday     0.5                                        Catch-up call with Embed management to discuss sale process next steps
                                                 and Principals
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Rohan Sindhwani (Analyst)                                                                                                       Strictly Private & Confidential



                                                                            General M&A Process tracking (NDAs, VDR legal discussion, management
      03/28/23      Tuesday     0.5           Sale Process Matters
                                                                            meetings, DD Tracking)

                                       Correspondence with Debtor Advisors Internal discussion with FTX EU Management and S&C on M&A process, legal
      03/29/23      Wednesday   0.5
                                                 and Principals            updates, and data gathering


      03/29/23      Wednesday   1.0     Correspondence with Third-Parties   Conversation with potential Embed bidder


                                       Correspondence with Debtor Advisors
      03/29/23      Wednesday   1.0                                        Conversation with Embed CTO on sale process
                                                 and Principals


      03/30/23      Thursday    7.0           Sale Process Matters          Embed sale alternatives materials creation & discussion
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Rohan Mekala (Analyst)                                                                                                                       Strictly Private & Confidential




                   Rohan Mekala (Analyst) - Case Hours Summary (Mar-23)
Categories                                                                          Hours
Correspondence with Debtor Advisors and Principals                                    7.0
Correspondence with Creditors, UCC, and Advisors                                      6.5
Correspondence with Third-Parties                                                     1.5
Due Diligence and Restructuring Strategy                                              -
Sale Process Matters                                                                 43.0
Financing Matters                                                                     -
Court Hearings                                                                        -
Other Administrative Processes and Analysis                                           -
Total                                                                                58.0

                                                                     Case Hours Detail (Mar-23)
        Date                 Day         Hours                    Category                                                      Activity

                                                     Correspondence with Debtor Advisors
      03/01/23           Wednesday         0.5                                           LedgerX Internal Discussion with S&C
                                                               and Principals

                                                     Correspondence with Creditors, UCC,
      03/01/23      Wednesday              0.5                                           Discussion with UCC on LedgerX process & bids evaluation
                                                               and Advisors

                                                                                            General M&A Process tracking (NDAs, VDR legal discussion, management
      03/02/23      Thursday               1.0               Sale Process Matters
                                                                                            meetings, DD Tracking)


      03/02/23      Thursday               4.0               Sale Process Matters           LedgerX Board Slides Creation


                                                     Correspondence with Creditors, UCC,
      03/03/23      Friday                 1.0                                           Weekly process check in with UCC advisor Jeffries
                                                               and Advisors

                                                                                            General M&A Process tracking (NDAs, VDR legal discussion, management
      03/03/23      Friday                 2.5               Sale Process Matters
                                                                                            meetings, DD Tracking)


      03/06/23      Monday                 1.0         Correspondence with Third-Parties    FTX Japan Phase I diligence management meetings with bidders


                                                     Correspondence with Creditors, UCC,
      03/06/23      Monday                 0.5                                           Check-in with UCC Advisor on LedgerX Sale Process
                                                               and Advisors

                                                     Correspondence with Debtor Advisors
      03/06/23      Monday                 1.0                                           PMO Slides Preparation
                                                               and Principals

                                                                                            General M&A Process tracking (NDAs, VDR legal discussion, management
      03/06/23      Monday                 2.0               Sale Process Matters
                                                                                            meetings, DD Tracking)
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Rohan Mekala (Analyst)                                                                                                         Strictly Private & Confidential



                                                                            General M&A Process tracking (NDAs, VDR legal discussion, management
      03/07/23      Tuesday     0.5           Sale Process Matters
                                                                            meetings, DD Tracking)


      03/08/23      Wednesday   4.0           Sale Process Matters          LedgerX Board Slides Creation


                                       Correspondence with Creditors, UCC,
      03/09/23      Thursday    1.0                                        Weekly process check in with UCC advisor Jeffries
                                                 and Advisors

                                       Correspondence with Debtor Advisors
      03/09/23      Thursday    1.0                                        FTX Japan internal discussion
                                                 and Principals

                                                                            General M&A Process tracking (NDAs, VDR legal discussion, management
      03/09/23      Thursday    1.0           Sale Process Matters
                                                                            meetings, DD Tracking)


      03/10/23      Friday      2.5           Sale Process Matters          Internal LedgerX Valuation Discussion


      03/10/23      Friday      4.0           Sale Process Matters          LedgerX Valuation Analysis


                                       Correspondence with Debtor Advisors
      03/10/23      Friday      0.5                                        Internal Discussion with LedgerX and S&C
                                                 and Principals


      03/11/23      Saturday    4.0           Sale Process Matters          LedgerX Valuation Analysis


      03/12/23      Sunday      4.0           Sale Process Matters          LedgerX Board Slides Creation


      03/12/23      Sunday      4.0           Sale Process Matters          LedgerX Valuation Analysis


      03/12/23      Sunday      2.5           Sale Process Matters          Portfolio company Model Build


                                       Correspondence with Debtor Advisors
      03/13/23      Monday      1.0                                        PMO Slides Preparation
                                                 and Principals


      03/13/23      Monday      0.5           Sale Process Matters          Bi-weekly M&A team check-in on sale process
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      03/14/23      Tuesday     0.5           Sale Process Matters          Bi-weekly M&A team check-in on sale process


                                       Correspondence with Debtor Advisors
      03/14/23      Tuesday     0.5                                        Internal Subsidiary company Diligence Session with A&M
                                                 and Principals


      03/14/23      Tuesday     1.0           Sale Process Matters          Internal Discussion on Dave


      03/15/23      Wednesday   0.5           Sale Process Matters          Bi-weekly M&A team check-in on sale process


                                       Correspondence with Creditors, UCC,
      03/15/23      Wednesday   1.0                                        Weekly process check in with UCC advisor Jeffries
                                                 and Advisors

                                                                            M&A Team Internal catch-up on outreach and VDR / management presentation
      03/15/23      Wednesday   1.5           Sale Process Matters
                                                                            materials discussion

                                       Correspondence with Creditors, UCC,
      03/16/23      Thursday    0.5                                        Check-in with UCC Advisor on LedgerX + Embed Sale Process
                                                 and Advisors


      03/17/23      Friday      0.5     Correspondence with Third-Parties   Diligence discussion with LedgerX bidder & S&C


                                       Correspondence with Debtor Advisors
      03/20/23      Monday      1.0                                        PMO Slides Preparation
                                                 and Principals


      03/21/23      Tuesday     0.5           Sale Process Matters          LedgerX NWC Analysis


                                       Correspondence with Debtor Advisors
      03/22/23      Wednesday   0.5                                        Internal catch-up with S&C on LedgerX and Embed sale process / bid discussion
                                                 and Principals

                                       Correspondence with Creditors, UCC,
      03/23/23      Thursday    1.0                                        Weekly process check in with UCC advisor Jeffries
                                                 and Advisors

                                                                            General M&A Process tracking (NDAs, VDR legal discussion, management
      03/27/23      Monday      1.0           Sale Process Matters
                                                                            meetings, DD Tracking)

                                       Correspondence with Debtor Advisors
      03/27/23      Monday      1.0                                        PMO Slides Preparation
                                                 and Principals
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                                                                          General M&A Process tracking (NDAs, VDR legal discussion, management
      03/28/23      Tuesday    0.5           Sale Process Matters
                                                                          meetings, DD Tracking)

                                      Correspondence with Creditors, UCC,
      03/30/23      Thursday   1.0                                        Weekly process check in with UCC advisor
                                                and Advisors


      03/31/23      Friday     1.0           Sale Process Matters         LedgerX NWC Analysis
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                  Alina Negulescu (Analyst) - Case Hours Summary (Mar-23)
Categories                                                                           Hours
Correspondence with Debtor Advisors and Principals                                    10.0
Correspondence with Creditors, UCC, and Advisors                                       1.5
Correspondence with Third-Parties                                                      -
Due Diligence and Restructuring Strategy                                              22.0
Sale Process Matters                                                                  33.5
Financing Matters                                                                      -
Court Hearings                                                                         -
Other Administrative Processes and Analysis                                            3.0
Total                                                                                 70.0

                                                                      Case Hours Detail (Mar-23)
        Date                  Day         Hours                    Category                                                           Activity

                                                        Due Diligence and Restructuring
      03/01/23         Wednesday           0.5                                               Diligence session regarding subsidiary
                                                                   Strategy

                                                      Correspondence with Debtor Advisors
      03/01/23       Wednesday             0.5                                            Venture investment planning with S&C
                                                                and Principals

                                                        Due Diligence and Restructuring
      03/01/23       Wednesday             5.0                                               Preparation of venture board materials
                                                                   Strategy


      03/02/23       Thursday              1.0               Sale Process Matters            Call with third party interested in fund sale process


                                                      Correspondence with Creditors, UCC,
      03/02/23       Thursday              0.5                                            Session with UCC advisors regarding fund asset in portfolio
                                                                and Advisors


      03/03/23       Friday                5.0               Sale Process Matters            Due diligence and outreach requests related to portfolio company sale process


      03/06/23       Monday                5.0               Sale Process Matters            Due diligence and outreach requests related to portfolio company sale process


                                                      Correspondence with Debtor Advisors
      03/06/23       Monday                1.0                                            Ventures board meeting
                                                                and Principals


      03/06/23       Monday                0.5               Sale Process Matters            Call with third party interested in fund sale process


                                                      Correspondence with Debtor Advisors
      03/07/23       Tuesday               1.0                                            PMO Meeting with Debtors' advisors John Ray, S&C, A&M
                                                                and Principals
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                                          Due Diligence and Restructuring
      03/08/23       Wednesday   0.5                                        Update call with portfolio company
                                                     Strategy

                                        Correspondence with Debtor Advisors
      03/08/23       Wednesday   0.5                                        Venture investment planning with S&C
                                                  and Principals

                                          Due Diligence and Restructuring
      03/08/23       Wednesday   5.0                                        Preparation of venture board materials
                                                     Strategy

                                        Correspondence with Debtor Advisors
      03/09/23       Thursday    1.0                                        Ventures board meeting
                                                  and Principals

                                          Due Diligence and Restructuring
      03/09/23       Thursday    0.5                                        Internal workstreams catchup call
                                                     Strategy


      03/10/23       Friday      5.0           Sale Process Matters         Due diligence and outreach requests related to portfolio company sale process


                                          Due Diligence and Restructuring
      03/13/23       Monday      0.5                                        Update call with portfolio company
                                                     Strategy


      03/13/23       Monday      2.0           Sale Process Matters         Due diligence and outreach requests related to portfolio company sale process


                                          Due Diligence and Restructuring
      03/14/23       Tuesday     0.5                                        Diligence session regarding subsidiary
                                                     Strategy

                                        Correspondence with Debtor Advisors
      03/14/23       Tuesday     1.0                                        PMO Meeting with Debtors' advisors John Ray, S&C, A&M
                                                  and Principals

                                          Due Diligence and Restructuring
      03/14/23       Tuesday     1.0                                        Update call with portfolio company
                                                     Strategy

                                        Correspondence with Debtor Advisors
      03/15/23       Wednesday   0.5                                        Venture investment planning with S&C
                                                  and Principals

                                        Correspondence with Creditors, UCC,
      03/15/23       Wednesday   1.0                                        Process updates with UCC advisors
                                                  and Advisors

                                          Due Diligence and Restructuring
      03/15/23       Wednesday   2.0                                        Preparation of venture board materials
                                                     Strategy
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                                         Other Administrative Processes and
      03/15/23       Wednesday   1.0                                          Weekly investment tracker maintenance
                                                      Analysis

                                          Due Diligence and Restructuring
      03/16/23       Thursday    1.5                                          Update call with portfolio companies
                                                     Strategy

                                        Correspondence with Debtor Advisors
      03/16/23       Thursday    0.5                                        Venture investment planning with S&C
                                                  and Principals


      03/17/23       Friday      5.0           Sale Process Matters           Due diligence and outreach requests related to portfolio company sale process


                                          Due Diligence and Restructuring
      03/20/23       Monday      1.0                                          Internal coordination for fund sale process
                                                     Strategy

                                          Due Diligence and Restructuring
      03/21/23       Tuesday     1.0                                          Internal discussion on venture portfolio diligence requests
                                                     Strategy

                                        Correspondence with Debtor Advisors
      03/21/23       Tuesday     1.0                                        PMO Meeting with Debtors' advisors John Ray, S&C, A&M
                                                  and Principals


      03/21/23       Tuesday     4.0           Sale Process Matters           Due diligence and outreach requests related to portfolio company sale process


                                          Due Diligence and Restructuring
      03/21/23       Tuesday     3.0                                          Preparation of venture board materials
                                                     Strategy

                                        Correspondence with Debtor Advisors
      03/22/23       Wednesday   0.5                                        Venture investment planning with S&C
                                                  and Principals


      03/23/23       Thursday    1.0           Sale Process Matters           Due diligence and outreach requests related to portfolio company sale process


                                        Correspondence with Debtor Advisors
      03/23/23       Thursday    1.0                                        Ventures board meeting
                                                  and Principals


      03/24/23       Friday      4.0           Sale Process Matters           Due diligence and outreach requests related to portfolio company sale process


                                         Other Administrative Processes and
      03/24/23       Friday      1.0                                          Weekly investment tracker maintenance
                                                      Analysis
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                                        Correspondence with Debtor Advisors
      03/28/23       Tuesday     1.0                                        PMO Meeting with Debtors' advisors John Ray, S&C, A&M
                                                  and Principals

                                        Correspondence with Debtor Advisors
      03/29/23       Wednesday   0.5                                        Venture investment planning with S&C
                                                  and Principals


      03/30/23       Thursday    1.0           Sale Process Matters           Due diligence and outreach requests related to portfolio company sale process


                                         Other Administrative Processes and
      03/31/23       Friday      1.0                                          Weekly investment tracker maintenance
                                                      Analysis
